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                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF LOUISIANA
                                        MONROE DIVISION
  ____________________________________
                                               )
  STATE OF LOUISIANA, et al.,                  )
                                               )
                          Plaintiffs,          )
                                               )
                  v.                           ) Civil Action No. 3:21-CV-04370-TAD-KDM
                                               )
  XAVIER BECERRA, in his official capacity )
  as Secretary of the United States Department )
  of Health and Human Services, et al.,        )
                                               )
                          Defendants.          )
  ____________________________________)

                 DEFENDANTS’ RESPONSE IN OPPOSITION TO
          PLAINTIFFS’ MOTION FOR TEMPORARY RESTRAINING ORDER
                       AND PRELIMINARY INJUNCTION
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  Tracy Lam-Hine, Stephen A. McCurdy, Lisa Santora, et al. Outbreak Associated with
    SARS-CoV-2 B.1.617.2 (Delta) Variant in an Elementary School—Marin County, California,
    May-June 2021, (Sept. 3, 2021), MMWR Morb. Mortal Wkly. Rep. 2021,
    https://perma.cc/27TA-622J................................................................................................................. 3, 4




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                                          INTRODUCTION

         A deadly disease called COVID-19 has ravaged the nation. By the time the rule at issue here

  was published a month ago, SARS-CoV-2, the virus that causes COVID-19, had infected over 50

  million people and claimed more than 800,000 lives in the United States. Those numbers continue to

  grow. See Centers for Disease Control and Prevention (“CDC”), COVID Data Tracker Weekly

  Review (Dec. 17, 2021), https://perma.cc/JWM5-5SZ4. The highly transmissible virus can easily pass

  from person to person. As a result, the pandemic has been devastating for children and families alike.

  Fortunately, safe and effective vaccines are now approved or authorized for emergency use to protect

  against COVID-19.

         The Secretary of Health and Human Services (the “Secretary”) reviewed the evidence and

  concluded that he must take urgent action to protect Head Start students and those interacting with

  them from infection. Head Start, a federal grant program, provides funding to aid school readiness

  for infants, toddlers, and pre-school aged children from low-income families. The COVID-19

  pandemic has hit Head Start students and families particularly hard. Head Start students are under

  five, and thus cannot be vaccinated. Many of these students rely on the programs not just for

  educational purposes, but also for everyday needs such as meals, so program closures due to COVID-

  19 outbreaks have severe negative consequences beyond the classroom. In addition, a majority of

  Head Start children and personnel come from minority and low-income communities, which have

  been disproportionately impacted by COVID-19.

         Congress has assigned the Secretary a statutory responsibility to protect the health and safety

  of Head Start students and personnel. To do so, the Secretary issued an Interim Final Rule, Vaccine

  and Mask Requirements to Mitigate the Spread of COVID-19 in Head Start Programs, 86 Fed. Reg.

  68,052 (Nov. 30, 2021) (the “Rule”), requiring that those interacting with Head Start students be

  vaccinated for COVID-19, or otherwise qualify for an exemption. These individuals are required to

  receive a single-shot vaccine or to obtain the second shot of a two-dose vaccine by January 31, 2022,

  or to request an exemption from this requirement from their employer. The Rule also requires


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  masking, effective immediately, for all Head Start students over two years old and those Head Start

  personnel who have contact with students. The Secretary issued the Rule on an emergency basis, and

  waived a comment period in advance of publication (though the comment period is currently open

  until December 30, 2021), because there was an imminent need to protect children against a spike in

  COVID-19 cases in the winter months. The Rule also anticipates the Office of Head Start’s planned

  return to fully in-person services in January 2022. The Rule is therefore necessary to avoid further

  disruption to Head Start children’s development and learning.

          Plaintiffs, a collection of twenty-four states, seek a preliminary injunction or temporary

  restraining order to prevent the Secretary from enforcing the Rule. As an initial matter, Plaintiffs—

  which do not directly receive Head Start funds to operate classrooms under 42 U.S.C. § 9836—lack

  standing to pursue their claims. Moreover, they have not demonstrated that they are entitled to this

  extraordinary remedy. Most importantly, they are unlikely to succeed on the merits. The Secretary

  has express statutory authority to ensure that federal funds are used to protect the health and safety

  of Head Start students and personnel. He has exercised this authority for decades, including by

  promulgating regulations requiring Head Start participants to receive a slate of vaccinations, see, e.g.,

  45 C.F.R. § 1304.3-4(2) (1975), and requiring staff to undergo health examinations and screenings, see,

  e.g., Head Start Program, 61 Fed. Reg. 57,186, 57,210, 57,223 (Nov. 5, 1996). Similarly, here, the

  Secretary reasonably exercised that authority to arrive at the vaccination and mask Rule. He explained

  that the need to protect the health and safety of those in the Head Start program compelled him to

  act now. The Secretary accordingly took emergency measures to protect the health and safety of

  children in the coming weeks and months and to preserve their ability to access the critical resources

  that Head Start programs provide.

          Plaintiffs also cannot meet their burden to demonstrate the remaining preliminary injunction

  factors. A regulation that amends the requirements for a discretionary grant awarded primarily to

  localities cannot cause irreparable harm to Plaintiffs’ sovereign interests. And any other alleged harm




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  to Head Start programs from staff departure is entirely speculative. The equities and public interest

  also weigh heavily against an injunction, which would undermine the public’s significant interest in

  protecting the health of children and preserving their ability to obtain an education and receive the

  many other benefits that Head Start programs provide.

         Finally, in the event that this Court decides to order some relief, it should extend no more

  broadly than the Head Start programs operated by any Plaintiffs that the Court concludes have

  standing. More sweeping relief is uncalled for and contrary to binding Fifth Circuit precedent. See

  Louisiana v. Becerra, No. 21-30734, 2021 WL 5913302 (5th Cir. Dec. 15, 2021) (staying a universal

  injunction to an HHS vaccination requirement for Medicare and Medicaid facilities to the extent it

  applied to nonparties). For all of these reasons, Plaintiffs’ motions should be denied.

                                            BACKGROUND

  I.     The COVID-19 Pandemic Has Had Devastating Effects.

         The novel coronavirus SARS-CoV-2 causes a severe acute respiratory disease known as

  COVID-19. 86 Fed. Reg. at 68,052. SARS-CoV-2 is primarily transmissible through exposure to

  respiratory droplets when one person is in close contact with another person who has COVID-19.

  As of December 2021, over 51 million COVID-19 cases and 800,000 COVID-19 deaths had been

  reported in the United States. See CDC, COVID Data Tracker, https://perma.cc/4CNT-7SKN (last

  visited Dec. 23, 2021) (cited at 86 Fed. Reg. at 68,052 n.6). COVID-19 has had a disproportionate

  effect on low-income and minority communities. 86 Fed. Reg. at 68,054–56.

         Because the virus that causes COVID-19 is highly transmissible, it readily spreads among

  unvaccinated individuals in classroom settings, even when infection control practices are followed. Id.

  at 68,053. Unvaccinated educators are at a much higher risk of infection and, therefore, pose a higher

  risk of transmitting the virus to young unvaccinated children in their care. Id. Studies have also shown

  that a lack of consistent mask usage in schools is associated with a higher risk of transmission. 1

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             See id. at 68,056 & nn.47–48 (citing Tracy Lam-Hine, Stephen A. McCurdy, Lisa Santora, et



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  Transmission of SARS-CoV-2 in child care settings often leads to infection and hospitalization in

  family members, including family members who are more susceptible to the effects of COVID-19

  due to age or underlying condition. Id. at 68,055. When a child or staff member tests positive or is

  exposed to someone who has tested positive for SARS-CoV-2, classrooms and school programs often

  must be closed for days or weeks to allow time to receive test results and for quarantining. Id. Closures

  impose hardship on Head Start children and families by preventing in-person attendance in Head

  Start, thereby impairing early learning and development and diminishing the ability of parents to work.

  Id.

          In June and July 2021, an especially contagious strain of SARS-CoV-2 known as the Delta

  variant drove dramatic increases in COVID-19 case and hospitalization rates throughout the United

  States. Id. at 68,052 & n.4 (citing CDC, Delta Variant: What We Know About the Science (Aug. 26,

  2021), https://perma.cc/4YRA-UWSP). The Delta variant is associated with a higher risk of

  hospitalization in children: From June to mid-August 2021, weekly COVID-19-related

  hospitalizations among children and adolescents were nearly five times higher than in the preceding

  months. Id. at 68,054 & n.26 (citing Miranda J. Delahoy, Dawud Ujamaa, Michael Whitaker, et al.

  Hospitalizations Associated with COVID-19 Among Children and Adolescents—COVID-NET, 14

  States, March 1, 2020-August 14, 2021, (Sept. 10, 2021), MMWR Morb. Mortal Wkly. Rep. 2021;

  70:1255–60, https://perma.cc/F535-GXNZ (noting also that hospitalization among children ages

  four and below increased tenfold)). Vaccination and mask usage remain effective mitigation strategies

  against the Delta variant. Id.

          When the Secretary issued the Rule, there were troubling indications of a resurgence of the

  virus in the forthcoming winter months. Id. at 68,058; CDC, COVID Data Tracker, https://

  al. Outbreak Associated with SARS-CoV-2 B.1.617.2 (Delta) Variant in an Elementary School—Marin
  County, California, May-June 2021, (Sept. 3, 2021), MMWR Morb. Mortal Wkly. Rep. 2021; 70:1214,
  https://perma.cc/27TA-622J; Megan Jehn, J. Mac McCullough, Ariella P. Dale, et al. Association
  Between K-12 School Mask Policies and School-Associated COVID-19 Outbreaks—Maricopa and
  Pima Counties, Arizona, July-August 2021, (Sept. 24, 2021), MMWR Morb. Mortal Wkly. Rep. 2021;
  70:1372–73, https://perma.cc/Z9YT-3P28).


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  perma.cc/4CNT-7SKN (last visited Dec. 23, 2021). Respiratory viruses, like SARS-CoV-2, typically

  circulate more easily in cold weather, and the United States experienced a large spike in COVID-19

  cases during the winter of 2020. 86 Fed. Reg. at 68,058. Indeed, since the Secretary issued the rule,

  the U.S. has seen a sharp increase in cases, see CDC, COVID Data Tracker, https://perma.cc/4CNT-

  7SKN (last visited Dec. 23, 2021), owing in part to the newly emergent Omicron variant, see CDC,

  Omicron Variant: What You Need to Know, https://perma.cc/K9GN-KGG2 (Dec. 20, 2021).

  II.     Safe and Effective Vaccines and Masks Are Widely Available in the United States.

          Currently, three manufacturers offer vaccines approved or authorized for emergency use in

  the United States by the Food and Drug Administration (“FDA”). See 86 Fed. Reg. at 68,052. These

  vaccines are manufactured by Pfizer-BioNTech, Moderna, and Janssen (Johnson & Johnson),

  respectively. Id. On October 29, 2021, the FDA authorized the Pfizer-BioNTech vaccine for use in

  children ages five and up. Id. at 68,059. There is currently no vaccine available in the United States

  for children under the age of five. Id.

          These vaccines are highly effective at preventing serious outcomes of COVID-19, including

  severe disease, hospitalization, and death. Id. at 68,054–55. The available evidence indicates that these

  vaccines offer strong protection against all known variants of the virus, including the Delta variant—

  particularly against hospitalization and death. Id. at 68,054. Recent studies indicate that the vaccines

  are 80% effective in preventing SARS-CoV-2 infection among frontline workers—more effective in

  practice than other protocols, such as regular testing. Id. at 68,059 & n.74 (citing Ashley Fowlkes,

  Manjusha Gaglani, Kimberly Groover, et al., Effectiveness of COVID-19 Vaccines in Preventing

  SARS-CoV-2 Infection Among Frontline Workers Before and During B.1.617.2 (Delta) Variant

  Predominance—Eight U.S. Locations, December 2020–August 2021, (Aug. 27, 2021), MMWR Morb.

  Mortal Wkly. Rep. 2021; 70:1167–69, https://perma.cc/5YKH-QYR4).

          Like all vaccines, COVID-19 vaccines are not 100% effective at preventing infection, and

  some breakthrough cases are expected among people who are fully vaccinated. However, the risk of



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  developing COVID-19 remains much higher for unvaccinated than for vaccinated people, and

  therefore the presence of unvaccinated personnel is expected to lead to higher rates of transmission

  to other Head Start personnel and students.        Id. at 68,055 & n.74.     Vaccinated people with

  breakthrough COVID-19 cases are less likely to develop serious disease, be hospitalized, and die than

  those who are unvaccinated and get COVID-19. Id. at 68,059 (citing Fowlkes, et al., supra). Studies

  have also shown that vaccinated people with breakthrough infections may be less infectious than

  unvaccinated individuals with primary infections, resulting in fewer opportunities for transmission.

  Id. at 68,059.

           Because children under age five cannot receive a COVID-19 vaccine at this time, masking

  remains an important mitigation strategy, along with vaccination among older individuals with whom

  young children come in contact. Id. at 68,055.

  III.     The Head Start Act Grants the Secretary the Authority to Issue Performance Standards
           Related to Health and Safety of Participants and Employees in Head Start.

           Head Start is a federal discretionary grant program that promotes school readiness in low-

  income children up to age five. 42 U.S.C. § 9831. Children under age three are eligible for the related

  Early Head Start program. Id. § 9840a. The Head Start program began as a summer program and

  demonstration grant in 1964, and in 1974 the Headstart–Follow Through Act made it a permanent

  program. Headstart, Economic Opportunity, & Community Partnership Act of 1974, Pub. L. No.

  93-644, 88 Stat. 2291. The Head Start program is administered by the Office of Head Start (“OHS”),

  within the Administration for Children and Families (“ACF”) of the Department of Health and

  Human Services (“HHS”). Head Start is a direct federal-to-local grant that does not pass through the

  state.

           The Headstart–Follow Through Act required the Secretary of Health, Education, and Welfare

  (predecessor to HHS) to issue regulations prescribing standards for Head Start grantees. Pub. L. No.

  93-644, § 8(a), 88 Stat. 2291, 2300. Since 1975, these standards, known as the Head Start Performance

  Standards, have included comprehensive health screening for children. 45 C.F.R. § 1304.3-3(b)(4)–


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  (5), 1304.3-4(2) (1975). Over the years, additional health-related performance standards have been

  added. And in 1996, HHS added health screenings for staff and regular volunteers. 61 Fed. Reg. at

  57,210, 57,223.

          Because of the discretionary nature of Head Start grants, all participants necessarily agree to

  abide by the standards HHS sets when they voluntarily seek to join the program. See HHS, Grant

  Policy Statement, at I-1, I-3 to I-4 (Jan. 1, 2007), https://perma.cc/PME5-9724. No one is entitled

  to a Head Start grant or to attend a Head Start program. As a discretionary grant, the federal

  government maintains the authority to choose which entities receive grants. See id. Any entity that

  chooses to apply for and receives a Head Start grant agrees that it will meet the performance standards

  HHS imposes, even if those entities are school districts or educational institutions. See id.

          Head Start is not a universal program, nor does it dominate early childhood care in the United

  States. Of the 24.6 million children ages five and under in the United States, see Forum on Child and

  Family Statistics, https://perma.cc/8EU9-V2HA (last visited Dec. 23, 2021), only 864,289 are

  currently enrolled in Head Start programs, 86 Fed. Reg. at 68,077. Many alternative pre-kindergarten

  programs are available to families that object to the Head Start Performance Standards. For example,

  many school districts provide, in the same schools, both Head Start pre-K services and non-Head

  Start pre-K services, the latter of which are not subject to the Head Start standards or the Rule. See

  Decl. of Jami Jo Thompson ¶ 2, Pls.’ Ex. C, ECF No. 2-4; Decl. of Arthur M. Joffrion, Pls.’ Ex. P,

  ECF No. 2-17. Alternative options are also available to entities that object to the Head Start Performance

  Standards, including health standards such as the Rule. For instance, before the COVID-19 pandemic

  began, one Maryland school system determined that it could no longer maintain the standards set for

  Head Start, so it relinquished its grant and provided services through its own non-Head Start pre-K

  program instead. See Donna St. George, Head Start Expands in Md. County Where Scandal Flared Two

  Years Ago, Washington Post (Sept. 12, 2018), https://perma.cc/RB7C-YP5B.




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  IV.     Recent Developments Have Revealed an Urgent Need for Further Action to Protect
          the Health of All Involved in Head Start.

          As noted above, the emergence of the Delta variant over the summer months led to a dramatic

  spike in cases, hospitalizations, and deaths caused by COVID-19, a resurgence that has been driven

  by the spread of infection among the unvaccinated population. The Secretary’s initial policy approach

  after vaccines became available to the general population during the early months of 2021 was to

  encourage, rather than require, vaccination. 86 Fed. Reg. at 68,054. However, as the agency eventually

  determined, “uptake of vaccination among Head Start staff has not been as robust as hoped for and

  has been insufficient to create a safe environment for children and families.” Id. The vaccination rate

  among Head Start personnel was estimated to be 77.1% on November 10, 2021. Id. at 68,070. In

  September 2021, the President announced his COVID-19 Action Plan, which set out a series of

  regulatory actions that federal agencies were planning to undertake in response to the pandemic. As

  relevant here, the announcement described HHS’s plans to require vaccinations for teachers and

  personnel in Head Start programs. The White House, Path Out of the Pandemic, https://perma.cc/

  M4GG-HB2Q (last visited Nov. 24, 2021). On November 10, 2021, the CDC issued updated

  guidance to early childhood education and child care programs, which, among other things,

  recommended universal indoor masking for children ages two and older in these programs. 86 Fed.

  Reg. at 68,054 & n.28 (citing CDC, COVID-19 Guidance for Operating Early Care and Education/

  Child Care Programs, https://perma.cc/6VRE-FRTR (Nov. 10, 2021)).

  V.      The Secretary Issued the Vaccination and Masking Rule to Protect the Health and
          Safety of All Involved in Head Start from the Transmission of SARS-CoV-2 in Head
          Start Facilities.

          On November 30, 2021, ACF published the interim final rule at issue here. The Rule adds to

  the Head Start Performance Standards a requirement that Head Start staff, volunteers, and contractors

  whose activities involve contact with or providing direct services to children and families in classrooms

  (collectively, “Head Start personnel”) be fully vaccinated for COVID-19. 86 Fed. Reg. at 68,060.

  Under the Rule, all non-exempt personnel must receive the second dose of a two-dose COVID-19


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  vaccine or a single-dose COVID-19 vaccine by January 31, 2022. Id. at 68,052. Non-exempt

  individuals must provide documentation of their vaccination status. Id. at 68,061. Exemptions from

  the vaccination requirement will be granted by each Head Start program to individuals “who cannot

  be vaccinated because of a disability under the ADA, medical condition, or sincerely held religious

  beliefs, practice, or observance.” Id. Each Head Start program must establish a process for reviewing

  and reaching a determination regarding exemption requests. Id. Exempt individuals must be tested

  for COVID-19 on a weekly basis. Id. at 68,053.

         The Rule also adds to the Head Start Performance Standards a universal masking requirement

  consistent with CDC recommendations. Id. at 68,060. All individuals ages two and over must wear a

  mask indoors in any setting where Head Start services are provided and inside any vehicle owned,

  leased, or arranged by the Head Start program. Id. Exceptions are permitted for individuals when

  they are eating or drinking, for children when they are napping, and for certain individuals who cannot

  wear a mask due to a disability.2 Id. Unvaccinated individuals are also required to wear a mask

  outdoors in crowded settings or during activities that involve sustained close contact with other

  people. Id. The masking requirement became effective immediately upon publication of the Rule. Id.

  The Secretary also concluded that there was good cause to waive the notice-and-comment process in

  rulemaking. Id. at 68,058–59.

  VI.    The Present Controversy

         Plaintiffs now challenge the Rule, asserting claims purportedly arising under the United States

  Constitution, the Administrative Procedure Act (“APA”), and a variety of other statutes. Compl. ¶¶ 150–

  234, ECF No. 1. Plaintiffs filed their Complaint and moved for a preliminary injunction on December 21,


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             Contrary to Plaintiffs’ implication that the Rule will “force” some children participating in
  Head Start to “surrender their place,” PI Br. 5, a child cannot lose his or her place in Head Start
  because he or she refuses to wear a mask or a parent refuses to have a child wear a mask. Expelling a
  child from Head Start for behavior is prohibited. 45 C.F.R. § 1302.17(b). OHS has reminded grantees
  of this prohibition publicly in its FAQs for the Rule. See page FAQs on the IFC Vaccine and Masking
  Requirements at 6, https://eclkc.ohs.acf.hhs.gov/sites/default/files/video/transcripts/002562-ifc-
  vaccine-masking-faq.pdf.


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  2021. Compl.; Mot. Prelim. Inj. (“PI Br.”), ECF No. 2. Two days later, on December 23, 2021, Plaintiffs

  moved for a temporary restraining order. Mot. for TRO, ECF No. 6; Am. Mot. for TRO, ECF No. 7.

  The Court then ordered expedited briefing, requiring Defendants to respond to Plaintiffs’ motion for a

  temporary restraining order by December 29, 2021. Minute Entry (Dec. 23, 2021), ECF No. 9. And on

  December 27, 2021, the Court ordered Defendants to file an omnibus response and Plaintiffs to file an

  omnibus reply. ECF No. 12.3
                                        STANDARD OF REVIEW

          “A preliminary injunction is an extraordinary and drastic remedy” that should “never be

  awarded as of right.” Munaf v. Geren, 553 U.S. 674, 689–90 (2008) (citation omitted). As is always the

  case, a plaintiff must first establish the court’s jurisdiction, including that the plaintiff has standing to

  bring its claims. See Barber v. Bryant, 860 F.3d 345, 352 (5th Cir. 2017). In addition, the plaintiff may

  obtain this “extraordinary remedy” only “upon a clear showing” that it is “entitled to such relief.”

  Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22 (2008). The plaintiff must show (1) “a substantial

  likelihood of success on the merits,” (2) “a substantial threat of irreparable injury,” (3) “that the

  threatened injury if the injunction is denied outweighs any harm that will result if the injunction is

  granted,” and (4) “that the grant of an injunction will not disserve the public interest.” Jordan v. Fisher,

  823 F.3d 805, 809 (5th Cir. 2016) (quoting Sepulvado v. Jindal, 729 F.3d 413, 417 (5th Cir. 2013)). The

  plaintiff must “clearly carr[y] the burden of persuasion on all four requirements.” Id. (citation omitted);

  see also, e.g., Lake Charles Diesel, Inc., v. Gen. Motors Corp., 328 F.3d 192, 203 (5th Cir. 2003). Although

  the court considers the same factors when evaluating a motion for a temporary restraining order, it

  scrutinizes them more closely. See New Motor Vehicle Bd. of Cal. v. Orrin W. Fox Co., 434 U.S. 1345,

  1347 n.2 (1977) (“A party seeking a restraining order must make a persuasive showing of irreparable

  harm and likelihood of prevailing on the merits” (emphasis added)); cf. Dilworth v. Riner, 343 F.2d 226,

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            On January 7, 2022, the U.S. Supreme Court will hear oral argument in cases involving
  vaccine requirements in two different contexts. See Order, Biden v. Missouri, No. 21A240 (Dec. 22,
  2021); Order, Becerra v. Louisiana, No. 21A241 (Dec. 22, 2021); Order, Nat’l Fed’n of Indep. Bus. v. Dep’t
  of Labor, No. 21A244 (Dec. 22, 2021); Order, Ohio v. Dep’t of Labor, No. 21A247 (Dec. 22, 2021).


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  229 (5th Cir. 1965). The primary purpose of a temporary restraining order is to prevent immediate

  irreparable harm until the court considers issuing a preliminary injunction so where, as here, both have

  been simultaneously briefed, the preliminary injunction is the more appropriate remedy for the court

  to consider than a temporary restraining order. See Wheat v. Craig, No. 17-0424, 2017 WL 1106102

  (W.D. La. Mar. 22, 2017).
                                                ARGUMENT

  I.      Plaintiffs Lack Standing to Pursue Their Claims.

          To establish standing, Plaintiffs must show that they have suffered an injury that is “concrete,

  particularized, and actual or imminent; fairly traceable to the challenged action; and redressable by a

  favorable ruling.” Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139, 149 (2010). Where, as here, the

  case involves deciding “whether an action taken by one of the other two branches of the Federal

  Government was unconstitutional,” the “standing inquiry [is] especially rigorous.” Raines v. Byrd, 521

  U.S. 811, 819–20 (1997).

          Here Plaintiffs fail to meet “[t]he first and foremost of standing’s three elements,” injury in

  fact, Spokeo, Inc. v. Robbins, 578 U.S. 330, 338 (2016) (cleaned up), because they do not receive Head

  Start grants to operate classrooms. Cf. 86 Fed. Reg. 68,053 (describing the vaccination requirement

  as applying, with some exceptions to “all Head Start program staff, . . . , certain contractors, and

  volunteers in classrooms or working directly with children” (emphasis added)). To be eligible for classic Head

  Start grants, an entity must be a “local public or private nonprofit agency, including community-based

  and faith-based organization, or for-profit agency, within a community,” 42 U.S.C. § 9836(a)(1)

  (emphasis added), and Plaintiffs are thus not eligible for these grants. Plaintiffs have not alleged that

  they are recipients of traditional Early Head Start grants under 42 U.S.C. § 9840a.

          Plaintiffs try to avoid this jurisdictional flaw by asserting that two Plaintiffs—Georgia and

  Utah—“directly participate as grantees.” Compl. ¶ 42. The facts, however, do not support this

  allegation. As Plaintiffs’ own exhibits verify, the recipient of the cited Utah grant is Southern Utah

  University, not the State of Utah. See Pls.’ Ex. O (Lisonbee Decl.) ¶¶ 4, 9. Plaintiffs’ reliance on the


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  Early Head Start–Childcare Partnership grant received by the Georgia Department of Early Care and

  Learning (“DECAL”) is likewise misplaced. See Pls.’ Ex. B (Jacob Decl.). That grant was made under

  the authority of multiple appropriations acts, not the Head Start Act.           See, e.g., Consolidated

  Appropriations Act, Pub. L. No. 116-260, 134 Stat. 1182, 1583 (2020). Unlike the grants provided to

  local entities to operate Head Start Programs under 42 U.S.C. § 9833, the grant received by Georgia

  is more administrative in nature. See Office of Head Start, Early Head Start Child Care Partnership State

  Grantee Profile, Georgia (Aug. 2016), https://www.acf.hhs.gov/sites/default/files/documents/ecd/

  ga_ehsccp_grantee_profile_final.pdf; HHS, Policy and Program Guidance for the Early Head Start–

  Partnerships (EHS–CCP) ACF-IM-HS-15-03, https://eclkc.ohs.acf.hhs.gov/policy/im/acf-im-hs-15-

  03-attachment. Accordingly, DECAL does not operate a Head Start classroom or provide direct

  services to Head Start students. And while Plaintiffs’ declarations suggest that “DECAL staff

  frequently visit Head Start programs or meet[] with Head Start Families,” Pls.’ Ex. B ¶ 11, ECF No.

  2-3, it is not clear if this involves actual contact with children. Cf. 86 Fed. Reg. 68,101 (updating 45

  C.F.R. § 1302.93 to apply the vaccination requirement to “[a]ll staff, and those contractors whose

  activities involve contact with or providing direct services to children and families” with certain

  exceptions). Even if Georgia and Utah had standing, the other 22 states do not have standing.

  Plaintiffs’ attempt to establish “injury” by relying on the collaborative grants that states may receive

  under 42 U.S.C. § 9837b has no merit. Such grants assist states in facilitating collaboration among

  Head Start agencies and other entities providing early childhood education and development. See 42

  U.S.C. § 9837b(2), (4). Plaintiffs assert that the new obligations imposed on Head Start agencies will

  make it more difficult for states to promote collaboration and coordination because many entities with

  which Head Start programs collaborate and coordinate do not impose vaccine and masking

  requirements. Compl. ¶¶ 144–46. This claim, however, is purely speculative. Collaboration and




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  coordination does not necessarily mean that non-Head Start personnel would be directly interacting

  with Head Start children in their classrooms.4

          Plaintiffs’ attempt to invoke parens patriae (Compl. ¶ 57) also has no merit. As the Supreme

  Court recognized, “a state does not have standing as parens patriae to bring an action against the federal

  government to vindicate the rights of its citizens.” Chiles v. Thornburgh, 865 F.2d 1197, 1209 (11th Cir.

  1989) (citing Alfred L. Snapp & Son, Inc. v. Puerto Rico, 458 U.S. 592, 610 n.16 (1982)). Although a state

  may have standing to vindicate its own injuries, see Massachusetts v. EPA, 549 U.S. 497, 519, 520 n.17

  (2007) (injury to state’s interest as a coastal property owner), the states here are asserting an injury on

  behalf of a certain subset of their citizens: children in poverty. Whatever injuries these children and

  their families may claim, the states are not in a position to bring suit on their behalf. See Brackeen v.

  Haaland, 994 F.3d 249, 292 n.13 (5th Cir. 2021) (en banc) (“[A] State [does not] have standing as the

  parent of its citizens . . . against the Federal Government, the ultimate parens patriae of every

  American citizen.” (alterations in original) (quoting South Carolina v. Katzenbach, 383 U.S. 301, 324

  (1966))), cert. denied, No. 21-380 (U.S. Sept. 8, 2021).

  II.     Plaintiffs Are Unlikely to Succeed on the Merits of Their Claims.

          A. The Rule Is Authorized by Statute.

          The vaccination and masking requirements fall within the Secretary’s “broad rule-making

  powers.” Thorpe v. Hous. Auth. of City of Durham, 393 U.S. 268, 277 n.28 (1969); see also Nat’l Welfare

  Rts. Org. v. Mathews, 533 F.2d 637, 640 (D.C. Cir. 1976) (referencing Congress’s “broad grant of power”

  to the Secretary).

                  1. The Plain Statutory Text Authorizes the Rule.

          Like any other question of statutory interpretation, an analysis of an agency’s statutory

  authority “begins with the statutory text”—and, when the text is clear, it “ends there as well.” Nat’l

          4
            Because Plaintiffs do not have grants that are directly impacted by the Rule, the facts here
  are clearly distinguishable from the circumstances in Louisiana v. Biden, No. 21-3867 (W.D. La. Dec.
  16, 2021), where the states had grants directly impacted by the challenged rule.


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  Ass’n of Mfrs. v. Dep’t of Def., 138 S. Ct. 617, 631 (2018) (citation omitted); see, e.g., Little Sisters of the Poor

  Saints Peter & Paul Home v. Pennsylvania, 140 S. Ct. 2367, 2380 (2020). Plaintiffs contend, based entirely

  on what they refer to as the “[m]ajor question[]” doctrine, that the statute’s failure to expressly mention

  vaccination and masking means that Congress did not grant the Secretary authority to protect Head

  Start participants’ and personnel’s health and safety in this manner. PI Br. 6. Even assuming that the

  major question doctrine were conceptually relevant, the Rule is not an exercise of “unheralded power

  to regulate ‘a significant portion of the American economy,’” Utility Air Regul. Grp. v. EPA, 573 U.S.

  302, 324 (2014) (quoting Food & Drug Admin. v. Brown & Williamson Tobacco Corp, 529 U.S. 120, 159

  (2000)). To the contrary, vaccine requirements have long existed as a commonplace feature of

  American life. See, e.g., Klaassen v. Trs. of Ind. Univ., 7 F.4th 592, 593 (7th Cir. 2021) (Easterbrook, J.)

  (discussing Jacobson v. Massachusetts, 197 U.S. 11 (1905)), application for stay denied, No. 21A15 (Aug.

  12, 2021). And as noted, the Head Start program is a discretionary federal grant program, not a

  universal preschool program; the Rule applies only to the 273,000 staff and 864,289 children who are

  part of the program, 86 Fed. Reg. at 68,077, as compared to, for example, the recent Occupational

  Safety and Health Administration (“OSHA”) vaccine rule that applies to over 80 million workers in

  America, id. at 68,069; see BST Holdings, L.L.C. v. Occupational Safety & Health Admin., 17 F.4th 604, 617

  (5th Cir. 2021), stay dissolved, In re MCP No. 165, ---F.4th---, 2021 WL 5989357, at *19 (6th Cir. Dec.

  17, 2021),5 or the Centers for Medicare & Medicaid Services (“CMS”) vaccine rule at issue in the

  matter of Louisiana v. Beccerra that applied to “over 10.3 million health care workers,” No. 3:12-CV-

  03970, 2021 WL 5609846, at *1 (W.D. La. Nov. 30, 2021). Additionally, many schools already require

  masks and require that their staff be vaccinated against COVID-19 for reasons paralleling those that

  led the Secretary to adopt the Rule.


          5
            Plaintiffs’ reliance on BST Holdings throughout their brief is misplaced. The now-dissolved
  stay in that case addressed the scope of agency authority under a different statute, enacted pursuant
  to Congress’s Commerce Clause power. Nothing in that case calls into question the Secretary’s ability
  to require recipients of federal Head Start grants to meet health and safety standards for the protection
  of school staff and children.


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          Moreover, the interpretive canon on which Plaintiffs rely “may only be used where words are

  of obscure or doubtful meaning.” Iverson v. United States, 973 F.3d 843, 853 (8th Cir. 2020) (citing

  Russell Motor Car Co. v. United States, 261 U.S. 514, 520 (1923)). Here, where the statutory text has “a

  character of its own” that plainly encompasses preventing Head Start children from being infected

  with a deadly disease and the intermittent closure of Head Start programs due to the transmission of

  disease, this canon is inapplicable. Russell Motor Car, 261 U.S. at 519. And, in any event, this canon

  does not apply “unless it is fair to suppose that Congress considered the unnamed possibility and

  meant to say no to it.” Coastal Conservation Ass’n v. Dep’t of Com., 846 F.3d 99, 106 (5th Cir. 2017)

  (citation omitted). Plaintiffs can point to no statutory text that would indicate that Congress meant

  the statutory language here to mean anything other than its natural implication, which includes the

  protection of Head Start participants and personnel from contracting highly infectious diseases that

  would render young children unable to obtain the critical benefits of the Head Start program. The

  Secretary’s authority to adopt the Rule flows directly from the unambiguous text of the statute.

          Congress charged the Secretary with adopting “standards relating to the condition . . . of [Head

  Start] facilities,” as well as to address other “administrative . . . standards” necessary for safely carrying

  out day-to-day operations of Head Start programs. 42 U.S.C. § 9836a(a)(1)(C), (D). Moreover,

  Congress vested the Secretary with broad authority to issue “such other standards as the Secretary

  finds to be appropriate” for Head Start agencies and programs. 42 U.S.C. § 9836a(a)(1)(E). Binding

  Supreme Court case law confirms the extent of the Secretary’s authority under these statutes.

  Addressing similar enabling language in other statutes, the Supreme Court has concluded that this

  language grants the agency “broad authority.” Mourning v. Family Publ’ns Serv., Inc., 411 U.S. 356, 365

  (1973) (quotation marks omitted). More specifically, “[w]here the empowering provision of a statute

  states simply that the agency may ‘make . . . such rules and regulations as may be necessary to carry

  out the provisions of this Act,’” the Court held that “the validity of a regulation promulgated

  thereunder will be sustained so long as it is ‘reasonably related to the purposes of the enabling




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  legislation.’” Id. at 369 (quoting Thorpe, 393 U.S. at 280–81). The same is true of statutes that authorize

  regulations as the Secretary finds to be “appropriate.” See, e.g., Arkansas v. Oklahoma, 503 U.S. 91, 105

  (1992); GEO Grp., Inc. v. Newsom, 15 F.4th 919, 930 (9th Cir. 2021) (“statutory language—‘appropriate’

  and ‘necessary and proper’—is a hallmark of vast discretion” (footnote omitted)).

          The Secretary’s authority to identify and order the correction of “deficienc[ies]” in Head Start

  programs reinforces his authority to issue the Rule. 42 U.S.C. § 9836a(e)(1). The Act defines a

  “deficiency” as “a systematic or substantial material failure of an agency in an area of performance

  that the Secretary determines involves—(i) a threat to the health, safety, or civil rights of children or

  staff; [or] (iii) a failure to comply with standards related to early childhood development and health

  services . . . .” Id. § 9832(2)(A). Because the Secretary can issue deficiencies on failures to follow

  standards that are a threat to health and safety, it follows that he can establish “standards related to

  early childhood development and health services” and “the health . . . of children or staff.”

          The vaccination and masking Rule is comfortably within the Secretary’s authority because it is

  reasonably related to the purposes of the Head Start Act. By requiring vaccines and masking for

  certain Head Start personnel and participants under certain circumstances and subject to exemptions,

  the Secretary adopted an “administrative standard” “necessary” for the safe management of Head

  Start programs, 42 U.S.C. § 9836a(a)(1)(C), and also “relating to the condition . . . of facilities” to

  ensure they do not become places of viral contagion, id. § 9836a(a)(1)(D). At a bare minimum, the

  Secretary adopted a “standard[]” he found to be “appropriate” for the Head Start program. Id.

  § 9836a(a)(1)(E).

          As noted above, Congress created the Head Start program as a means to provide a healthy

  and safe learning environment for low-income children across the country. This measure was

  “appropriate” to protect student health. The agency began by noting a CDC report that showed that

  over 51 million COVID-19 cases and 800,000 COVID-19 deaths had been reported in the United

  States. See CDC, COVID Data Tracker, https://perma.cc/4CNT-7SKN (last visited Dec. 23, 2021)




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  (cited at 86 Fed. Reg. at 68,052 n.6). It then explained that “vaccination is the most important measure

  for reducing risk for SARS-CoV-2 transmission and in avoiding severe illness, hospitalization, and

  death.” 86 Fed. Reg. at 68,052 (footnote omitted). HHS went on to reason that “[g]iven that children

  under age 5 years are too young to be vaccinated at this time, requiring masking and vaccination among

  everyone who is eligible are the best defenses against COVID-19.” Id. at 68,055. HHS further noted

  that in addition to protecting individuals from COVID-19, the requirements will “reduce closures of

  Head Start programs, which can cause hardship for families, and support the Administration’s priority

  of sustained in-person early care and education that is safe for children—with all of its known benefits

  to children and families.” Id. (footnote omitted). In short, the agency spelled out the connection

  between the Rule and the purposes of the Head Start Act.

                  2. The History of Past Head Start Regulations Confirms that the Rule is a
                     Necessary and Appropriate Modification.

          Plaintiffs make much of the supposed limits of the phrase “modifying” in 42 U.S.C.

  § 9836a(a)(1), which directs that “[t]he Secretary shall modify, as necessary, program performance

  standards by regulation applicable to Head Start agencies and programs under this subchapter.” 42

  U.S.C. § 9836a. Plaintiffs argue that the phrase cannot plausibly be read to allow the Secretary to

  establish regulations impacting the health of Head Start participants and employees. But even under

  the Plaintiffs’ own first definition of this term as “[t]o make somewhat different; to make small changes

  to (something) by way of improvement, suitability, or effectiveness,” PI Br. 8 (quoting Modify, Black’s

  Law Dictionary (10th ed. 2014)), the Secretary’s rule is authorized. Requiring masking of children

  over age two and staff vaccinations against a deadly and highly contagious disease are two moderate

  improvements to a program whose purpose addresses all facets of students’ readiness to succeed in

  an academic setting, including their health and safety (and that of their families). See 42 U.S.C.

  § 9831(2) (“It is the purpose of this subchapter to promote the school readiness of low-income

  children by enhancing their cognitive, social, and emotional development . . . through the provision

  to low-income children and their families of health, educational, nutritional, social, and other services


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  that are determined, based on family needs assessments, to be necessary.”).

          Numerous provisions in the Head Start Act charge the Secretary with the responsibility to

  issue regulations, as he deems necessary, to protect the health and safety of program participants and

  personnel. The statutory provisions show that the health of children is a relevant consideration in the

  broader context of the statute. The Head Start Act directs that funding be used by Head Start agencies

  to provide “intensive training and technical assistance” for “[a]ctivities . . . to support . . . health

  services, and other services necessary to address the needs of children enrolled in Head Start

  programs.” Id. § 9843(d)(1)(G). Other provisions are similarly in accord. See id. § 9832(21)(G)(i)

  (defining the “professional development” of “Head Start teachers and staff” that the act is intended

  to promote to include “activities that . . . assist teachers with . . . the acquisition of the content

  knowledge and teaching strategies needed to provide effective instruction and other school readiness

  services regarding . . . physical health and development”); id. § 9843(a)(3)(B)(xii)(VI), (b)(2)(D)

  (instructing the Secretary “to the maximum extent practicable” to “assist Head Start agencies and

  programs to address the unique needs of programs located in rural communities, including . . .

  removing barriers to obtain health screenings for Head Start participants in rural communities” and

  also to “support training for personnel . . . to recognize common health . . . problems in children for

  appropriate referral”). See also id. § 9835(m)(2) (directing the Secretary to establish rules requiring Head

  Start agencies to allow families of homeless children to apply to, enroll in, and attend Head Start

  programs while required documents, such as . . . immunization and other medical records . . . are

  obtained within a reasonable time frame”); id. § 9836a(a)(2)(C)(ii) (requiring the Secretary to consider

  the effects of any revisions in Head Start standards on the “quality, scope, or types of health . . .

  services required to be provided under such standards as in effect on December 12, 2007”).

          ACF in fact has a long history of rulemaking related to Head Start health standards, including

  measures similar to the vaccine and mask requirements at issue here, to which Plaintiffs have never

  objected. The first Head Start Program Performance Standards were issued in 1975, and they included




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  comprehensive health screening that “should be carried out for all of the Head Start children,”

  including tests for anemia and tuberculosis as well as urinalyses. 45 C.F.R. § 1304.3-3(b)(4)–(6) (1975).

  Head Start staff were also required to verify immunizations records, id. § 1304.3-3(b)(8) (1975), and

  participants were required to complete all recommended immunizations, including for

  diphtheria/pertussis/tetanus, polio, rubeola, rubella, and mumps. 45 C.F.R. § 1304.3-4(2) (1975).

  These Standards are entitled to “peculiar weight” given that they were promulgated just a year after

  Congress made Head Start a permanent program and thus represent “a contemporaneous

  construction of a statute by the men charged with the responsibility of setting its machinery in motion;

  of making the parts work efficiently and smoothly while they are yet untried and new.” Norwegian

  Nitrogen Prod. Co. v. United States, 288 U.S. 294, 315 (1933); see also Kisor v. Wilkie, 139 S. Ct. 2400, 2426

  (2019) (Gorsuch, J., concurring in the judgment) (“The government’s early, longstanding, and

  consistent interpretation of a statute, regulation, or other legal instrument could count as

  powerful evidence of its original public meaning.” (emphasis omitted)).

          Over the years, Head Start requirements have evolved in response to the most pressing health

  and medical threats of the times. For example, in the 1990s, guidance as an appendix to the

  performance standards included the appropriate treatment of children with HIV. 45 C.F.R. § 1308

  App’x (2015). In 1996, HHS added health examinations for staff and tuberculosis screening for staff

  and regular volunteers to the Head Start Program Performance Standards. 61 Fed. Reg. at 57,210,

  57,223. And in response to suggestions in comments that it no longer made sense to single out

  tuberculosis, HHS revised the staff health standard in 2016 to include more general language about

  staff health and communicable diseases. Head Start Performance Standards, 81 Fed. Reg. 61,294,

  61,357, 61,433 (Sept. 6, 2016). Up through 2015, HHS even specifically mandated vaccinations for

  pets of families with children enrolled in home-based Head Start programs.                        45 C.F.R.

  § 1306.35(b)(2)(ix) (2015). Read in the context of the history of HHS Head Start rulemaking, the Rule

  is plainly the agency’s way of “mak[ing] somewhat different” the existing regulatory structure “by way




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  of improvement, suitability, or effectiveness.” PI Br. 8. (quoting Modify, Black’s Law Dictionary (10th

  ed. 2014)).

          As noted above, health and wellness standards apply to staff, who are required to have “an

  initial health examination and a periodic re-examination as recommended by their health care provider

  in accordance with state, tribal, or local requirements, that include screeners or tests for communicable

  diseases, as appropriate.” 45 C.F.R. § 1302.93(a).

          In turn, Head Start Programs have a responsibility to “ensure staff do not, because of

  communicable diseases, pose a significant risk to the health or safety of others in the program.” 45

  C.F.R. § 1302.93(a). Current standards also include staff training on prevention and control of

  infectious diseases and establishing administrative procedures regarding protection from contagious

  diseases. 45 C.F.R. § 1302.47(b)(4)(i)(A) & (b)(7)(iii). Commonsense measures like demonstrably safe

  vaccines and masks are logically included in Head Start Programs’ preexisting obligations to prevent

  the spread of communicable diseases.

          Current and past standards have also included regulations similar to the vaccine and mask

  requirements to avoid the spread of contagious diseases. In the past, standards have included spacing

  cribs three feet apart to avoid the spread of contagious diseases, 45 C.F.R. § 1304.22(e)(7) (2015), and

  temporarily excluding children with acute or short-term contagious illnesses, id. § 1304.22(b). Current

  regulations also require Head Start Programs to “[o]btain determinations from health care and oral

  health care professionals as to whether or not the child is up-to-date on a schedule of age appropriate

  preventative and oral health care,” including following “immunizations recommendations issued by

  the Centers for Disease Control and Prevention,” id. § 1302.42(b)(1)(i), which currently include the

  COVID-19 vaccine for most Americans over age five, see CDC, COVID-19 ACIP Vaccine

  Recommendations (Nov. 5, 2021), https://perma.cc/B2U6-GFYR                   (hereinafter “CDC ACIP

  Recommendations”). If a child is not up-to-date on vaccines, Head Start programs are directed to

  “[a]ssist parents with making arrangements to bring the child up-to-date as quickly as possible; and, if




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  necessary, directly facilitate provision of health services to bring the child up-to-date with parent

  consent.” 45 C.F.R. § 1302.42(b)(1)(ii). In order to accomplish this, Head Start programs are even

  permitted to “use program funds for professional medical and oral health services when no other

  source of funding is available.” Id. § 1302.42(e)(2). In addition, all Head Start personnel are required

  to meet the child care standards of the states in which they operate. 42 U.S.C. § 9837(c)(1)(E)(iii); see

  also id. § 9832(2)(A)(vi) (defining a program deficiency in part as the “failure to meet any other Federal

  or State requirements that the agency has shown an unwillingness or inability to correct”); 45 C.F.R.

  § 1304.5(a)(2)(viii) (specifying that failure to abide by applicable state requirements is a ground for

  termination).

          All of the aforementioned health regulations, including those regarding vaccinations and

  communicable disease precautions, have been considered “modifications” to the existing Head Start

  regulatory structure ever since 1975. Indeed, prior to this lawsuit, none of the Head Start Performance

  Standards had ever been challenged. Entities in the Plaintiff states, some of which received their first

  Head Start grant as early as 1974, have abided by all of the Head Start Program Performance Standards,

  including the health standards such as health screening for staff and vaccination rules for participants,

  for decades. Those entities have never suggested that those standards should be limited to exclude

  health, nor have the states. Many of these entities applied and entered into the Head Start program

  with the knowledge that those standards already existed, and they accepted them. Yet now, as Head

  Start regulations continue to evolve to meet the challenges of the greatest public health threat of the

  present day—the global COVID-19 pandemic—Plaintiffs oppose the same sorts of health measures

  with which entities in their states have always complied. Plaintiffs’ history of compliance without

  complaint further undermines Plaintiffs’ argument that the Secretary somehow lacks statutory

  authority for the similar measures required in the Rule.

                  3. Nothing in the Statute Forecloses the Secretary’s Reading of the Statute.

          Because, at a minimum, nothing in the statute forecloses the agency’s interpretation of the



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  statute as including the authority to require masks and vaccinations, that interpretation also warrants

  deference. See generally Gonzales v. Oregon, 546 U.S. 243, 255–56 (2006) (Chevron deference is warranted

  “when it appears that Congress delegated authority to the agency generally to make rules carrying the

  force of law and that the agency interpretation claiming deference was promulgated in the exercise of

  that authority” (citation omitted)); see also Florida v. Dep’t of Health & Hum. Servs., No. 21-14098 (11th

  Cir. Dec. 1, 2021), Order at 15–16 (“The imposition of a vaccine mandate as a condition on the receipt

  of federal funds to ensure patient safety within those facilities is not expressly foreclosed by this statue.

  There appears little likelihood of success on the APA claim.”).

          In discussing the Secretary’s authority, Plaintiffs note the Supreme Court’s holding that

  regulations of vast economic significance “must be authorized by a clear statement of unambiguous

  congressional intent.” PI Br. 6 (citing Ala. Ass’n of Realtors v. Dep’t of Health & Hum. Servs., 141 S. Ct.

  2485, 2489 (2021) (per curiam)). As explained above, however, Congress did speak clearly by

  authorizing the Secretary to impose, inter alia, “standards relating to the condition . . . of [Head Start]

  facilities,” as well as to address other “administrative . . . standards” necessary for safely carrying out

  day-to-day operations of Head Start programs. 42 U.S.C. § 9836a(a)(1)(C), (D). Moreover, Congress

  gave the Secretary the authority to adopt any “other standards as the Secretary finds to be appropriate.”

  42 U.S.C. § 9836a(a)(1)(E). “Congress could have limited [the Secretary’s] discretion in any number

  of ways, but it chose not to do so.” Little Sisters of the Poor, 140 S. Ct. at 2380. And courts may not

  “impos[e] limits on an agency’s discretion that are not supported by the text.” Id. at 2381. Plaintiffs

  can point to no statutory text that would indicate that Congress intended the broad powers it granted

  the Secretary over “administrative . . . standards,” “standards relating to the condition . . . of facilities,”

  and “such other standards as the Secretary finds to be appropriate” to mean anything other than their

  natural implication, which includes the protection of Head Start students and employees at federally-

  funded Head Start facilities from a virus that has killed more than 800,000 Americans. 42 U.S.C.

  § 9836a(a)(1)(E).




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          For this reason, Plaintiffs’ reliance on Alabama Ass’n of Realtors v. Department of Health & Human

  Services, 141 S. Ct. 2485 (2021), is misplaced. There, the Supreme Court held that an eviction

  moratorium imposed by the CDC exceeded the agency’s authority to “prevent the [interstate]

  introduction, transmission, or spread of communicable diseases[.]” 42 U.S.C. § 264(a). Reading that

  language in context, the Court held that its scope was informed by the next sentence “illustrating the

  kinds of measures that could be necessary,” such as “fumigation” or “pest extermination.” 141 S. Ct.

  at 2488. Those measures “directly relate to preventing the interstate spread of disease,” whereas the

  eviction moratorium “relate[d] to interstate infection” only “indirectly,” through the “downstream

  connection between eviction” and possible spread of COVID-19 by evicted individuals who move

  “from one State to another.” Id.

          Here, the connection between the vaccine and masking requirements and student and

  employee health and safety is clear and direct: By requiring program personnel and participants to take

  the measures that most effectively reduce the risk that they contract and spread the virus that causes

  COVID-19, the Secretary sought to reduce the risk that students and workers would contract the

  virus. Cf. Florida v. Dep’t of Health & Hum. Servs., ---F.4th---, 21-14098, 2021 WL 5768796, at *12 (11th

  Cir. Dec. 6, 2021); see generally Merck & Co. v. U.S. Dep’t of Health & Hum. Servs., 962 F.3d 531, 537–38

  (D.C. Cir. 2020) (distinguishing an invalid rule with only “a hoped-for trickle-down effect on the

  regulated programs” from a valid rule with “an actual and discernible nexus between the rule and the

  conduct or management of Medicare and Medicaid programs”). Moreover, should Head Start

  personnel and students become infected with COVID-19, all students’ ability to learn is hampered.

  The Secretary is simply exercising long-recognized and common sense power to adopt health and

  safety conditions for federally-funded programs for youth that are already subject to extensive

  conditions of participation.

          And there is no reason to think that Congress—which granted the Secretary broad authority

  to protect Head Start students and personnel precisely because it could not foresee all future threats




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  to participant health and safety—would have regarded a vaccine or masking requirement as a matter

  requiring specific authorization. See 153 Cong. Rec. S14375-02, S14376, 2007 WL 3375993 (daily ed.

  Nov. 14, 2007) (statement of Sen. Kennedy) (Head Start “provides the starting point for a child’s day,

  with a healthy meal each morning and a promise to parents that while they are at work and balancing

  two jobs, their children will see a doctor and dentist, and receive immunizations.”). To the contrary,

  vaccine requirements have existed for centuries as a commonplace feature of American life,

  particularly in the education context. See, e.g., Klaassen, 7 F.4th at 593; see also Jacobson, 197 U.S. at 25–

  35 (identifying vaccine requirements in the United States and other Western countries in the early

  1800s). Head Start personnel already have to receive certain vaccinations and health screenings. See

  supra at 19–20. Thus, “when it comes to vaccination mandates, there was no reason for Congress to

  be more specific than authorizing the Secretary to make regulations.” Florida, 2021 WL 5768796, at

  *12 (in the context of the Secretary’s rulemaking regarding Medicare and Medicaid facilities). Basic

  hygiene practices like hand washing, disinfecting surfaces, and now wearing face masks to prevent the

  spread of viruses are similarly commonplace. In fact, Head Start regulations already require many of

  these practices. See 45 C.F.R. § 1302.47(b)(4)(i)(A) (staying home when sick); id. § 1302.47(b)(6)(i)

  (hand hygiene); id. § 1302.47(b)(2)(i) (cleaning, sanitizing, and disinfecting); id. § 1302.47(b)(4)(i)(A)

  (physical distancing). At a bare minimum, the Secretary reasonably understood his authority to

  encompass this responsibility, and that understanding is entitled to deference from this Court. See

  Northport Health Servs. of Ark., LLC v. Dep’t of Health & Hum. Servs., 14 F.4th 856, 870 (8th Cir. 2021).

          B. The Rule Is Not Contrary to Law.

          Plaintiffs next argue that the Rule violates four specific statutory provisions, but there is no

  substance to these arguments. First, the Rule complies with 42 U.S.C. § 9836a(a)(2)(B)(x), which

  requires the Secretary to “take into consideration . . . the unique challenges faced by individual

  programs, including those programs that are seasonal or short term and those programs that serve

  rural populations.” See PI Br. 9–10. Plaintiffs provide no explanation regarding the basis for this



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  claim, but in any event, HHS plainly complied with this provision, as the Rule’s preamble confirms.

  See, e.g., 86 Fed. Reg. 68,054 (“The Secretary also considered the circumstances and challenges typically

  facing children and families served by Head Start agencies including the disproportionate effect of

  COVID-19 on low-income communities served by Head Start agencies and the potential for

  devastating consequences for children and families of program closures and service interruptions due

  to SARS-CoV-2 exposures.”); id. at 68,066 (“ACF also considered whether to tie the universal masking

  requirement and the testing requirement to SARS-CoV-2 transmission rate” in individual communities

  but found “[i]t would be burdensome for this program to issue separate guidance across its service

  area to account for changing transmission levels across those counties”).

          Second, the Rule complies with 42 U.S.C. § 9836a(2)(A), which requires the Secretary to

  “consult with experts in the fields of child development, early childhood education, child health care,

  family services . . ., administration, and financial management, and with persons with experience in

  the operation of Head Start programs.” See PI Br. 10. The Rule explains that the Secretary consulted

  with “experts in child health, including pediatricians, a pediatric infectious disease specialist, and the

  recommendations of the CDC and FDA.” 86 Fed. Reg. at 68,054. Plaintiffs state that this “comes

  nowhere close to meeting § 9836a(2)(A)’s specific requirements” but never actually explain why that

  is except to assert that HHS “failed to disclose who specifically it actually consulted.” PI Br. 10.

  Notably absent from 42 U.S.C. § 9836a(a)(2) is any requirement that the Secretary identify by name of

  the specific experts with whom he consulted. And Plaintiffs do not point to any authority requiring

  such specificity. Cf. 5 U.S.C. § 553(c) (requiring only “a concise general statement of [a final’s rule]

  basis and purpose”).

          Third, the Rule complies with 42 U.S.C. § 9836a(a)(2)(C)(ii), which requires the Secretary to

  “ensure that any such revisions in the standards will not result in the elimination of or any reduction

  in quality, scope, or types of health, educational, parental involvement, nutritional, social, or other

  services required to be provided under such standards as in effect on December 12, 2007.” See PI Br.




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  10. Plaintiffs’ entire argument on this point is that, in their opinion, the rule will “exclud[e] children

  and reduc[e] eligible staff and volunteers.” Id. Plaintiffs’ assertions are speculative; as evidenced by

  vaccine requirements in other contexts, most people choose to comply with such requirements rather

  than leave their jobs. See 86 Fed. Reg. at 68,055 & nn.52–54. In fact, one of the Secretary’s primary

  reasons for adopting the Rule was to ensure the continuity of Head Start services, including the

  “health, educational, parental involvement, nutritional, social, or other services” such facilities provide.

  42 U.S.C. § 9836a(a)(2)(C)(ii). The Secretary explained that he

          considered the circumstances and challenges typically facing children and families
          served by Head Start agencies including the disproportionate effect of COVID-19 on
          low-income communities served by Head Start agencies and the potential for
          devastating consequences for children and families of program closures and service
          interruptions due to SARS-CoV-2 exposures.

  86 Fed. Reg. at 68,054. The Secretary noted that in the absence of reasonable measures like the Rule

  to prevent the spread of COVID-19, there would likely be intermittent closures of Head Start

  programs or even a switch to providing services virtually, id. at 68,055, which could reduce the quality,

  scope, or types of services offered to something below pre-2007 levels.6 To the extent parents choose

  to exclude their own children from Head Start because they do not want them to wear face masks,

  that is no different from parents choosing to exclude their children because they do not want them to

  receive immunizations or to receive all medical treatments on their state’s Early and Pediatric

  Screening, Diagnosis, and Treatment schedule, all of which are already required for participation in

  Head Start and which none of the twenty-four plaintiff states have ever challenged. See 45 C.F.R.

  § 1302.42(b)(1)(i). The same goes for Head Start personnel, who are already required to undergo a

  number of health assessments and screenings and take precautions to avoid transmitting infectious

  diseases. See supra at 19–20.

          6
            The vaccine requirement does not eliminate or reduce services from pre-2007 levels when
  tuberculosis screening, crib spacing, and temporary exclusion were required for contagious disease
  control. See supra at 19–20. Rather, it updates the performance standards so they address the realities
  of the current environment, and therefore, support the continuation of the quality, scope, and types
  of services at the same or higher level as pre-2007.


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          Fourth, the Rule complies with 42 U.S.C. § 9836a(b)(3)(B), which requires that any rule

  promulgated under Section 641A “shall not be used to exclude children from Head Start programs.”

  See PI Br. 10. As already explained immediately above, requiring masking does not reasonably exclude

  children any more than requiring vaccines and other standard health treatments, which Head Start has

  required for decades. In fact, HHS promulgated the Rule in large part to make Head Start programs

  available to more students during the COVID-19 pandemic. See supra at 4 (explaining how COVID-

  19 results in program closures, depriving Head Start children across the country from accessing the

  invaluable resources it provides). HHS plainly followed all the statutory criteria laid out in these four

  these statutory provisions. Plaintiffs’ real qualm amounts to a policy disagreement, but that is not a

  basis for invalidating a rule under the APA.

          C. The Rule Is Not Arbitrary and Capricious.

          Plaintiffs’ arbitrary-and-capricious claims fare no better. Agency action must be upheld in the

  face of an arbitrary-and-capricious challenge so long as the agency “articulate[s] a satisfactory

  explanation for [the] action including a rational connection between the facts found and the choice

  made.” Little Sisters of the Poor, 140 S. Ct. at 2383 (citation omitted). A court’s review is “narrow” and

  the court “is not to substitute its judgment for that of the agency.” Motor Vehicle Mfrs. Ass’n of the U.S.,

  Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983); see also Ky. Coal Ass’n v. Tenn. Valley Auth.,

  804 F.3d 799, 801 (6th Cir. 2015) (APA standard is not an “invitation for judicial second-guessing”).

  Under this “deferential” standard, a court “simply ensures that the agency has acted within a zone of

  reasonableness and, in particular, has reasonably considered the relevant issues and reasonably

  explained the decision.” FCC v. Prometheus Radio Project, 141 S. Ct. 1150, 1158 (2021). Critically, “mere

  policy disagreement is not a basis for a reviewing court to declare agency action unlawful.” N.C.

  Fisheries Ass’n, v. Gutierrez, 518 F. Supp. 2d 62, 95 (D.D.C. 2007). Indeed, “[w]hether [the Court] would

  have done what the agency did is immaterial,” so long as the agency engages in an appropriate

  decisionmaking process. Mingo Logan Coal Co. v. EPA, 829 F.3d 710, 718 (D.C. Cir. 2016).



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          Furthermore, the Court’s review of Plaintiffs’ APA claims should be confined to the record

  before the agency. “[T]he focal point for judicial review should be the administrative record already

  in existence [on the basis of which the administrator’s determination was made], not some new record

  made initially in the reviewing court.” La. Env’t Soc’y, Inc. v. Dole, 707 F.2d 116, 119 (5th Cir.1983)

  (quoting Camp v. Pitts, 411 U.S. 138, 142 (1973)). “[W]hen a party seeks review of agency action under

  the APA . . . , the district judge sits as an appellate tribunal.” Rempfer v. Sharfstein, 583 F.3d 860, 865

  (D.C. Cir. 2009) (quoting Am. Bioscience, Inc. v. Thompson, 269 F.3d 1077, 1083 (D.C. Cir. 2001)). Thus,

  the Court’s review “is based on the agency record and limited to determining whether the agency acted

  arbitrarily or capriciously.” Id. To the extent Plaintiffs seek to introduce expert opinions going to the

  merits, for example, addressing the wisdom of vaccine and masking requirements, Pls.’ Exs. S, T, ECF

  No. 2-20, 2-21, those opinions are not a proper subject of APA review because they were not before

  the Secretary and are irrelevant to his decision.

          Here, the agency adopted a reasonable Rule after considering the relevant issues. The fifty-

  page Rule reasonably explains the agency’s decision, setting forth the justifications, weighing costs and

  benefits, considering alternative approaches, and providing an economic impact analysis. See generally

  86 Fed. Reg. at 68,052–68,101. Plaintiffs lodge a litany of claims that the Rule is arbitrary and

  capricious. PI Br. 13–19. None of these claims has merit. Adopting Plaintiffs’ numbering:

          First, Plaintiffs argue that the Rule overlooked that staff or students might leave the program

  due to the Rule, or overlooked the effects on specific groups, like children with special needs or

  underserved communities. PI Br. 13–15. But the agency considered these factors. The agency

  explicitly considered that the Rule might result in staff vacancies, and stated that “[t]o value the

  countervailing risk of staff vacancies, [ACF] adopt[s] an assumption that each Head Start staff that

  quits in response to the interim final rule will leave a vacancy that lasts an average of two weeks.” 86

  Fed. Reg. at 68,091. The Rule also finds that, “[f]or each COVID-19 case averted, parents and

  caretakers experienced 190 hours of time savings.” Id. One of the primary goals of the Rule is to




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  reduce instances in which a positive case of COVID-19 in the classroom results in program closures

  and service interruptions. See 86 Fed. Reg. at 68,054. Thus, the agency considered that some personnel

  and students may voluntarily leave the Head Start program over the new requirements, but

  nevertheless determined that those costs would be outweighed by the benefits of reducing COVID-19

  transmission. Additionally, the Rule provides exemptions from the vaccine requirement for personnel

  “who cannot be vaccinated because of a disability under the ADA, medical condition, or sincerely

  held religious beliefs, practice, or observance.” 86 Fed. Reg. at 68,061 (footnote omitted).

          While Plaintiffs argue that the agency failed to consider children with special needs, the agency

  did consider them, and provided exceptions to the masking requirements for “persons who cannot

  wear a mask, or cannot safely wear a mask, because of a disability as defined by the Americans with

  Disabilities Act (ADA), consistent with CDC guidance on disability exemptions; and for children with

  special health care needs, for whom programs should work together with parents and follow the advice

  of the child’s health care provider for the best type of face covering.” 86 Fed. Reg. at 68,060. The

  Rule relies on November 10, 2021 guidance from the CDC, which recommended “universal indoor

  masking for ECE programs for everyone aged 2 years and older” and found that “ECE [early

  childhood education and child care] program staff can model consistent and correct use for children

  aged 2 years or older in their care.” 86 Fed. Reg. at 68,054. It is reasonable for ACF to rely on the

  recommendation of CDC, an agency with scientific expertise in protection from infectious diseases,

  over competing information from non-governmental agencies. See Balt. Gas & Elec. Co. v. Nat. Res.

  Def. Council, Inc., 462 U.S. 87, 103 (1983) (recognizing that courts must be at their “most deferential”

  when reviewing an agency’s “scientific determination”); N.C. Fisheries Ass’n, 518 F. Supp. 2d at 95

  (“[M]ere policy disagreement is not a basis for a reviewing court to declare agency action unlawful.”).

  Courts are not to “second-guess[]” an agency’s “weighing of risks and benefits” associated with a

  rulemaking. Dep’t of Com. v. New York, 139 S. Ct. 2551, 2571 (2019).




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          The Rule also explicitly considers its impact on underserved children and communities in

  particular, concluding that the Rule would “promote[] public and community health and health equity

  for children and staff in Head Start programs” “[g]iven the disproportionate burden of COVID-19

  deaths and lower vaccination rates among racial and ethnic minority groups.” 86 Fed. Reg. at 68,055–

  56 (footnotes omitted); see also id. at 68,058 (“Program closures [from positive COVID-19 cases]

  impede Head Start families from participating in the workplace, impose financial hardship on low

  wage workers who may not have paid time off to care for children who are in quarantine, create

  instability for children and families who depend on the Head Start program, and delay a full economic

  recovery for the nation.”).

          Second, contrary to Plaintiffs’ argument, PI Br. 15–16, HHS did consider alternatives to the

  Rule. Indeed, the Rule has an entire section outlining a number of options considered but rejected by

  the Secretary. 86 Fed. Reg. at 68,066. Plaintiffs specifically refer to natural immunity and the potential

  for vaccine efficacy to decrease over time, claiming that the Rule is arbitrary because it did not offer

  natural immunity as an alternative to vaccination or mask wearing, and because it insufficiently

  considered changes in vaccine efficacy over time. PI Br. 15–16. The agency considered scientific

  literature on the efficacy of vaccines, and concluded that “[t]he COVID-19 vaccines are the safest and

  most effective way to protect individuals and the people with whom they live and work from infection

  and from severe illness and hospitalization if they contract the virus.” 86 Fed. Reg. at 68,054–55. The

  Rule supports this finding with numerous scientific studies.7 Id. at 68,055 & nn.31–36. “When

  examining this kind of scientific determination, as opposed to simple findings of fact, a reviewing

  court must generally be at its most deferential.” Balt. Gas & Elec. Co., 462 U.S. at 103. ACF reasonably


          7
            Indeed, the agency considered scientific literature that acknowledged and took into account
  the possibility that vaccine efficacy decreases as time from vaccination increases, but still concluded
  that COVID-19 vaccines are highly protective. See Fowlkes, et al., supra (finding that the evidence
  “further affirm[ed] the highly protective benefit of full vaccination up to and through the most recent
  summer U.S. COVID-19 pandemic waves” despite some apparent decrease in vaccine effectiveness,
  and noting that “[vaccine effectiveness] might also be declining as time since vaccination increases”)
  (cited at 86 Fed. Reg. 68,055 n.33).


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  concluded that, based on the evidence, vaccinations are a superior mitigation strategy, regardless of a

  recipient’s supposed “natural immunity.”

          The agency’s decision was based on the most reliable scientific evidence available, especially

  given the contrast between the inexorable and, at times, surging pace of the pandemic and the

  necessarily measured pace of scientific research. It is common for an agency “not [to] have perfect

  empirical or statistical data”—particularly on complex issues like the interplay between protection

  provided by prior infection and vaccines, or the efficacy of vaccination over time—the APA does not

  require such evidence before an agency may act. Prometheus Radio Project, 141 S. Ct. at 1160; see also San

  Luis & Delta-Mendota Water Auth. v. Locke, 776 F.3d 971, 995 (9th Cir. 2014) (“[Even] if the only

  available data is ‘weak, and thus not dispositive,’ an agency’s reliance on such data ‘does not render

  the agency’s determination arbitrary and capricious.’” (quoting Greenpeace Action v. Franklin, 14 F.3d

  1324, 1336 (9th Cir. 1992))). Indeed many, if not most, statistical analyses have some limitations

  regarding sample size, etc., but that does not mean that they do not also provide valuable information

  upon which an agency may rely. Here, ACF “made a reasonable predictive judgment based on the

  evidence it had,” Prometheus Radio Project, 141 S. Ct. at 1160, which is all the APA requires.

          Third, the Rule’s rationale—to mitigate the spread of COVID-19 in Head Start programs—is

  not pretextual. Contra PI Br. 16–17. Plaintiffs try to cast the Rule as a sinister attempt “aimed at

  increasing vaccination rates throughout American society, writ large.” PI Br. 16. But there was no

  need for the agency to “pigeonhole the Mandate into the Head Start Act’s statutory factors,” PI Br.

  16—the Act’s statutory factors have long permitted the Secretary to include health related standards.

  See supra at Part II.A.1-2. Nor, given the copious evidence about the effectiveness of vaccines in

  reducing the spread of COVID-19, e.g., 86 Fed. Reg. at 68,059, is it at all surprising that other federal

  agencies, like OSHA or CMS, may have concluded it was vital to their own missions to require

  vaccination of individuals that participate in their programs or that are regulated by them.8 The

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              The present state of the COVID-19 pandemic has significantly deteriorated even since



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  thorough explication in the fifty-page Rule of the Secretary’s justifications and reasons likewise rebuts

  any accusation that his reasons are pretextual. And, of course, to the extent that the Rule is part of a

  broader focus by the administration to protect the health and safety of Americans, there is nothing

  unusual or unlawful about this. “[A] court may not set aside an agency’s policymaking decision solely

  because it might have been influenced by political considerations or prompted by an Administration’s

  priorities.” Dep’t of Com., 139 S. Ct. at 2573. Unlike in Department of Commerce v. New York, here there

  is not a “significant mismatch between the decision the Secretary made and the rationale he provided.”

  Id. at 2575.

          Fourth, Plaintiffs’ allusion to “reliance interests,” PI Br. 17, is unavailing. Plaintiffs refer to

  their interest “in public and private Head Start programs continuing to operate under existing rules,”

  PI Br. 17, but the Rule analyzed its costs and benefits and concluded that the benefits outweighed the

  costs. Likewise, Plaintiffs refer to Head Start providers’ interests “in staffing their facilities under the

  existing rules without facing this new Mandate that threatens their workforce,” PI Br. 17, which

  appears to reduce to their same argument that the Rule will cause employees to leave or endanger

  Head Start services, and Head Start workers’ interests “in selecting a job and building a career under

  the existing rules,” PI Br. 17, which appears to reduce to Plaintiffs’ same argument that the Rule will

  harm Head Start employees. None of these interests implicates reliance in the traditional sense, i.e.,

  Plaintiffs do not allege that they undertook actions to their detriment because of representations that

  the agency had made to them about the future. Indeed, it would be difficult for Plaintiffs to argue

  that they relied on the prior rules to their detriment, given that they do not directly received Head

  Start grants to operate classrooms, and that they elsewhere question why the agency “did not require

  children to wear masks in the Head Start program before now, including when case numbers were

  higher . . . .” PI Br. 18. Furthermore, the Plaintiffs were well aware that the Performance Standards


  November, when this Court found that “infection and hospitalization rates are dropping” as part of
  the basis for finding a CMS vaccine rule to be arbitrary and capricious. See Louisiana, 2021 WL
  5609846, at *14.


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  were subject to modification, as the Head Start Act explicitly instructs the Secretary to “modify” them

  “as necessary.” 42 U.S.C. § 9836a. And, as discussed, the agency has long imposed vaccine

  requirements. In any event, as has previously been discussed, the agency considered that the Rule

  might result in some Head Start employees choosing to leave their jobs, but determined that the

  benefits of the Rule outweighed that risk. That Plaintiffs would have reached a different conclusion

  had they been weighing the potential benefits does not mean that the Rule is arbitrary or capricious.

          Fifth, Plaintiffs misapprehend the issue when they argue that the agency failed to consider

  conflicting state laws. PI Br. 17–18. The agency recognized that some states have differing

  requirements (and indeed, if all states had uniform requirements that matched the Rule, the Rule would

  be unnecessary). As the Rule noted, pursuant to the Supremacy Clause, the Rule preempts any

  conflicting state laws, relieving any issues of uncertainty regarding which requirements Head Start

  providers should implement. See, e.g., 86 Fed. Reg. at 68,061 (“[T]his IFC preempts the applicability

  of any state or local law providing for exemptions to the extent such law provides broader exemptions

  than provided for by federal law and are inconsistent with this IFC.”); id. at 68,063 (“In these cases,

  consistent with the Supremacy Clause of the Constitution, the agency intends that this rule preempts

  State and local laws to the extent the State and local laws conflict with this rule.”). The agency did not

  take this step lightly, and as part of its preemption analysis noted that it had “considered other

  alternatives [to preempting state law] (for example, relying entirely on measures such as voluntary

  vaccination, source control alone, and physical distancing) and has concluded that the mandate

  established by this rule is the minimum regulatory action necessary to achieve the objectives of the

  statute.” Id.

          Sixth, the Rule is not arbitrary and capricious for failure to “‘account for differences in’

  community measures, transmission levels, hospitalization levels, or levels of infection across

  communities.” PI Br. 18.9 The agency considered these issues, including whether to tie requirements

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              Plaintiffs liken the supposed overbreadth of this rule to the OSHA vaccine rule that the Fifth



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  to community transmission rates. 86 Fed. Reg. at 68,066. However, given the number of Head Start

  grant recipients and the fact that many serve entire states or cross state lines, the agency concluded

  that such an approach “would be burdensome for” a grant recipients operating over a large area. Id.

  It is not arbitrary or capricious for the agency to recognize that “children benefit from routine and

  predicability” and to “prioritiz[e] clear and transparent policy that is easy for grantees to follow across

  their service areas.” Id. And an agency’s action should be upheld where it acts within the “zone of

  reasonableness.” Prometheus Radio Project, 141 S. Ct. at 1158; see also Nat’l Shooting Sports Found., Inc. v.

  Jones, 716 F.3d 200, 214 (D.C. Cir. 2013) (“An agency has wide discretion in making line-

  drawing decisions and the relevant question is whether the agency’s [determination is] within a zone

  of reasonableness, not whether [it is] precisely right.” (cleaned up)).

          Seventh, Plaintiffs speculate that some harm may occur because Head Start students attend

  school with non-Head Start students—without citing anything to substantiate this theoretical harm—

  and that HHS overlooked this potential harm. PI Br. 18. ACF, of course, only has authority to

  implement standards for Head Start programs, not other programs, and it is not arbitrary or capricious

  for it to cabin itself to that limitation. To the extent that there are discrepancies among policies

  applying to students at the same school, they result from state and local school districts’ decisions not

  to implement mask requirements that align with the federal standards for Head Start. And, given that

  the agency correctly concluded that the masking requirement would bring public health benefits, not

  harms, 86 Fed. Reg. at 68,099–100, it would likewise bring benefits if, in fact, the Rule led programs “to

  mandate masking on students who themselves are not part of the Head Start program,” PI Br. 18.

          Eighth and finally, the Rule did engage with the “fundamental questions” that Plaintiffs argue

  it omitted. PI Br. 18–19. As to why the Secretary did not implement a mask requirement “before

  now, including when case numbers were higher and everybody was unvaccinated,” PI Br. 18, the Rule


  Circuit found to be “staggeringly overbroad.” PI Br. 18 (quoting BST Holdings, 14 F.4th at 615)
  (internal quotation marks omitted). There is no comparison. That Rule applied to “2 out of 3 private-
  sector employees in America.” BST Holdings, 14 F.4th at 615.


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  notes, among other considerations, that “the advent of the Delta variant and the potential for new

  variants,” and the “return to fully in-person services” in January 2022, justified a more robust

  approach, particularly given that “uptake of vaccination among Head Start staff has not been as robust

  as hoped for and has been insufficient to create a safe environment for children and families.” 86

  Fed. Reg. at 68,054. In addition, on November 10, 2021, the CDC “issued updated guidance to early

  childhood education and child care (ECE) programs,” which, among other things, recommended

  “universal indoor masking for ECE programs for everyone aged 2 years and older.” Id. The changed

  circumstances, including the emergence of the Delta variant and the updated CDC recommendations

  shortly before ACF issued the Rule, justified the change in course. This is not unusual. “[A]gencies

  are expected to reevaluate the wisdom of their policies in response to changing factual circumstances.”

  COMPTEL v. FEC, 978 F.3d 1325, 1335 (D.C. Cir. 2020). There is no heightened standard when an

  agency changes its policy so long as the agency shows that “the new policy is permissible under the

  statute, that there are good reasons for it, and that the agency believes it to be better, which the

  conscious change of course adequately indicates.” FCC v. Fox Television Stations, Inc., 556 U.S. 502, 515

  (2009). And while Plaintiffs criticize the Rule for including a masking requirement where President

  Biden’s COVID-19 action plan did not, PI Br. 18–19, the agency did consider an alternative that did

  not include a masking requirement, but concluded, in weighing the available evidence, that adding the

  masking requirement “will result in additional, unquantified reductions in mortality and morbidity

  risks to Head Start children and families, and to the general public.” 86 Fed. Reg. at 68,100. That

  Plaintiffs would have reached a different conclusion does not mean that the agency acted arbitrarily

  or capriciously.

          D. The Secretary Had Good Cause to Issue the Interim Rule Without Advance Notice
             and Comment.

          Notice-and-comment rulemaking is not required “when the agency for good cause finds (and

  incorporates the finding and a brief statement of reasons therefor in the rules issued) that notice and

  public procedure thereon are impracticable, unnecessary, or contrary to the public interest.” 5 U.S.C.


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  § 553(b)(B). While this exception is often narrowly construed, an agency “should have more latitude

  in determining when to invoke ‘good cause’ when notice and comment requirements are self-

  imposed.” Alcaraz v. Block, 746 F.2d 593, 612 (9th Cir. 1984). Such is the case here. The text of the

  APA exempts rulemakings “relating to . . . grants” from its notice and comment requirements, 5 U.S.C.

  § 553(a)(2), and Head Start is a federal grant program, 42 U.S.C. §§ 9831 et seq. HHS has previously

  issued internal guidance saying that it “will use notice of proposed rule making procedures in certain

  cases where not required by law.” Public Participation in Rule Making, 36 Fed. Reg. 2,531, 2,532 (Feb.

  5, 1971). But because the text of the APA “clearly indicates congressional intent that notice and

  comment shall not be required, with the agency thus acting in an extra-statutory fashion by adopting

  the requirements as its policy,” the “congressional policy for interpreting good cause extremely

  narrowly does not operate.” Alcaraz, 746 F.2d at 612.

          The Secretary properly waived notice-and-comment procedures under the good cause

  exception here. See 86 Fed. Reg. at 68,058–59. The exception excuses notice and comment where

  delay could result in serious harm. See Jifry v. FAA, 370 F.3d 1174, 1179 (D.C. Cir. 2004). The

  Secretary found that any delay in issuing the Rule would “endanger the health and safety of staff,

  children and families, and be contrary to the public interest,” 86 Fed. Reg. at 68,059, given the Rule’s

  “life-saving importance,” Council of S. Mountains, Inc. v. Donovan, 653 F.2d 573, 581 (D.C. Cir. 1981).

  The emergence of the highly transmissible Delta variant, along with additional data showing the

  effectiveness of vaccines, amply justifies taking urgent measures. See 86 Fed. Reg. at 68,058. The

  Delta variant “has resulted in greater rates of cases and hospitalizations among children,” and in recent

  months, these rates have remained “elevated” compared to other points in the pandemic. Id. at 68,053,

  68,055. Head Start involves young children under the age of five who cannot be vaccinated. See id. at

  68,055. The 27% of Head Start personnel who are estimated to be unvaccinated “could result in

  roughly 250,000 children who are in the care of an unvaccinated adult.” Id. at 68,056. Given the Delta

  variant’s “higher impact on children,” id. at 68,055, it is even more pressing that this potential for




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  exposure is reduced immediately. See Sorenson Comm’ns Inc. v. FCC, 755 F.3d 702, 706 (D.C. Cir. 2014)

  (although good cause is rarely invoked, “we have approved an agency’s decision to bypass notice and

  comment where delay would imminently threaten life”). The Secretary acted because of these serious

  threats to health and safety—far more than the “administrative inconvenience” of Plaintiffs’

  characterization. PI Br. 11.

          Additionally, referencing the COVID-19 surge in the winter of 2020, the Secretary highlighted

  the potential for infection rates to increase in the coming months due to cold weather, 86 Fed. Reg.

  at 68,058. The Rule also noted that “there is potential for the rapid and unexpected development and

  spread of additional new and more transmissible variants,” id. at 68,053.           Given these recent

  developments in a rapidly-changing pandemic landscape, the Secretary was more than justified in

  taking immediate action on additional COVID-19 precautions—particularly for those regularly

  interacting with young children who cannot be vaccinated. See Roman Cath. Diocese of Brooklyn v. Cuomo,

  141 S. Ct. 63, 67 (2020) (“Stemming the spread of COVID-19 is unquestionably a compelling

  interest.”).

          Plaintiffs argue that the Secretary should have issued the Rule earlier, PI Br. 12, but the

  Secretary “can and must be able to respond to dangers as they evolve.” In re MCP No. 165, 2021 WL

  5989357, at *9. As noted, see supra Part I.B.8, the Secretary initially chose a policy of “allow[ing] Head

  Start programs to decide whether or not to require staff vaccination.” 86 Fed. Reg. at 68,054. Because

  of the Delta variant, an expected return to fully in-person services in January 2022, as well as a

  vaccination uptake among Head Start personnel that “has not been as robust as hoped for,” id., the

  Secretary’s issuance of the Rule when he did does not undermine the application of the good cause

  exception. And preparing the fifty-page rule, with its analysis of over 144 cited sources, took time.

  Compare Asbestos Info. Ass’n/N. Am. v. Occupational Safety & Health Admin., 727 F.2d 415, 423 (5th Cir.

  1984) (recognizing that good cause may be met even when the agency acts years after learning of a

  serious health risk, so long as the agency “offer[s] some explanation of its timing in promulgating” the




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  rule, and it “acted in response to new awareness of the danger”) with 86 Fed. Reg. at 68,052–68,101.

  Taking the time to craft a “reasoned policy determination” does not “undermine the state of

  emergency that this unprecedented pandemic currently presents,” see In re MCP No. 165, 2021 WL

  5989357, at *9, especially given the number of issues the Plaintiffs claim the Secretary should have

  taken more time to consider, see supra Part II.C.

          Because the Secretary had good cause to dispense with notice and comment rulemaking,

  Plaintiffs’ argument in a footnote about the Congressional Review Act, PI Br. 13 n.1, is also unavailing.

  5 U.S.C. § 808 simply grafts the APA’s good cause standard onto the Congressional Review Act.

  Moreover, 5 U.S.C. § 805 “denies courts the power to void rules on the basis of agency noncompliance

  with the [CRA].” Montanans for Multiple Use v. Barbouletos, 568 F.3d 225, 229 (D.C. Cir. 2009).

          E. The Rule Complies with the Treasury and General Government Appropriations Act
             of 1999.

          Plaintiffs’ contention that the agency violated the Treasury and General Government

  Appropriations Act here by not conducting a family impact assessment, PI Br. 19, is a red herring. As

  an initial matter, that statute is not judicially enforceable. See Public Law No. 105-277, 5 U.S.C. § 601

  note (f) (“This section is not intended to create any right or benefit, substantive or procedural,

  enforceable at law by a party against the United States, its agencies, its officers, or any person.”). And

  in any event, the agency explained that it had followed the requirements of that statute. Section 654

  of that act requires agencies to first determine whether a policy or regulation “may affect family well-

  being” and then, only if the policy or regulation may do so, to “assess such actions with respect to”

  seven different criteria. The agency explained that it followed the statutory requirement, stating, “ACF

  believes it is not necessary to prepare a family policymaking assessment . . . because the action it takes

  in this interim final rule will not have any impact on the autonomy or integrity of the family as an

  institution.” 86 Fed. Reg. at 68,062. The agency also “invite[d] public comment on whether the

  actions set forth in this interim final rule would have a negative effect on family well-being,” id.,




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  thereby leaving the door open to a future family impact assessment if and when it might become

  necessary.

          Plaintiffs fault ACF for failing to conduct this assessment, but tellingly, they do not argue how

  the Rule “may affect family well-being,” 5 U.S.C. § 601 note (f), or assert that it was arbitrary or

  capricious for the agency to make the determination that the Rules does not affect family well-being.

  Rather, they include a single conclusory sentence that “[t]he mandate . . . intrudes into fundamental

  decisions about whether a child must wear a mask or not at school, imposes obligations on parents

  picking children up from school, and goes straight to the heart of the allocation of power between

  State and family.” PI Br. 19. Plaintiffs do not provide any support whatsoever for this statement, and

  the “extraordinary remedy” that they ask for—a temporary restraining order or preliminary

  injunction—cannot be predicated on conclusory statements and speculation but rather requires a

  “clear showing.” Winter, 555 U.S. at 22. Without arguing that ACF was wrong to determine that the

  Rule would not impact family well-being, Plaintiffs cannot argue that the assessment was required.

          It makes sense that Plaintiffs do not argue, beyond their single unadorned sentence, that the

  Rule may affect family well-being given that the Rule simply requires two commonsense measures that

  slow the spread of a highly contagious virus while children are with their peers and personnel at Head

  Start facilities. When children are with their families at home or anywhere else, they are not covered

  by the Rule, so they are free to wear masks or not, as they and their families so choose. The seven

  factors included in the family impact assessment plainly do not apply to the requirements of the Rule.

  For example, there is no reason to believe Congress intended ACF to assess whether vaccine and

  mask requirements “strengthen[] or erode[] the stability or safety of the family and, particularly, the

  marital commitment” or “increase[] or decrease[] disposable income or poverty of families and

  children.” 5 U.S.C. § 601 note. Because Congress plainly did not intend that agencies apply these

  factors to a rule like this one, and Plaintiffs do not so much as argue how any of these specific factors

  would apply to this Rule, Plaintiffs are not likely to succeed on the merits of this claim.




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          F. The Rule Complies with the Nondelegation Doctrine, Spending Clause, Tenth
             Amendment, and Anti-Commandeering Doctrine.

          Plaintiffs’ remaining objections, PI Br. 19–22, also fail.

          Contrary to Plaintiffs’ non-delegation argument, PI Br. 19–20, “[d]elegations are constitutional

  so long as Congress lays down by legislative act an intelligible principle to which the person or body

  authorized to exercise the authority is directed to conform.” Big Time Vapes, Inc. v. FDA, 963 F.3d

  436, 441 (5th Cir. 2020) (cleaned up), cert. denied, 141 S. Ct. 2746 (2021). Here, the Secretary’s statutory

  authority to protect the health and safety of Head Start students and personnel easily meets this

  minimal standard. Cf. Whitman v. Am. Trucking Ass’ns, 531 U.S. 457, 473 (2001) (upholding “public

  health” standard). The Head Start Act delegates to the Secretary authority merely to set standards for

  the performance of the Head Start program, not to regulate broad swaths of the economy. Any

  performance standards under this statute, in addition to being “appropriate,” must of course further

  the purpose of the Head Start program, cabining the scope of the delegation.

          Plaintiffs’ Tenth Amendment argument, PI Br. 20–21, likewise fails because as long as federal

  action rests on a constitutionally delegated power, “there can be no violation of the Tenth

  Amendment,” United States v. Mikhel, 889 F.3d 1003, 1024 (9th Cir. 2018) (citation omitted), cert. denied,

  140 S. Ct. 157 (2019); accord United States v. Hatch, 722 F.3d 1193, 1202 (10th Cir. 2013). As mentioned,

  42 U.S.C. § 9836a(a)(1), under which the Rule was promulgated, was enacted pursuant to the Spending

  Clause, an evident exercise of Congress’s legislative power under the Constitution. See Valley Forge

  Christian Coll. v. Ams. United for Separation of Church & State, Inc., 454 U.S. 464, 480 (1982).

          “Congress has authority under the Spending Clause to appropriate federal moneys to promote

  the general welfare, . . . [and] to see to it that taxpayer dollars appropriated under that power are in

  fact spent for the general welfare.” Sabri v. United States, 541 U.S. 600, 605 (2004). This power applies

  even when Congress legislates “in an area historically of state concern.” Id. at 608 n.*. Plaintiffs’

  arguments that health and education are within the state’s police powers, PI Br. 20, are thus of no

  moment. The Secretary did not intrude on state police powers when he issued the Rule, then, any



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  more than he did when he issued the long-standing rules conditioning federal funds on requiring that

  Head Start personnel do not “pose a significant risk” “of communicable disease.” 45 C.F.R.

  § 1302.93(a).

          Nor would it matter if the Rule conflicted with the state’s own health and safety measures.

  Indeed, it is axiomatic that the federal government does not “invade[] areas reserved to the States by

  the Tenth Amendment simply because it exercises its authority” under the Constitution, even “in a

  manner that displaces the States’ exercise of their police powers.” Hodel v. Va. Surface Mining &

  Reclamation Ass’n, 452 U.S. 264, 291 (1981) (emphasis added); accord Okla. ex rel. Okla. Dep’t of Pub. Safety

  v. United States, 161 F.3d 1266, 1272 (10th Cir. 1998). Thus, “‘the Federal Government, when acting

  within a delegated power, may override countervailing state interests,’ whether those interests are

  labeled traditional, fundamental, or otherwise.” Brackeen, 994 F.3d at 310 (citation omitted); see also In

  re MCP No. 165, 2021 WL 5989357, at *17 (“[T]hat states may regulate COVID-19 safety measures

  does not operate to preclude the federal government from doing so[.]”).

          Nor does the Rule “commandeer” states into enforcing it. The Supreme Court has found

  improper commandeering when, for example, the federal government forced state legislatures to enact

  state regulations according to Congress’s instructions, New York v. United States, 505 U.S. 144, 161

  (1992), or when the federal government “conscript[ed]” local law enforcement officials by requiring

  them to perform background checks in connection with firearms sales, Printz v. United States, 521 U.S.

  898, 935 (1997).

          The Rule does none of these things. For starters, as previously discussed, see supra Part I, the

  Plaintiffs, as states, are not even eligible for Head Start program grants under 42 U.S.C. § 9836 because

  they are not local entities, and they do not allege that they receive Early Head Start grants under 42

  U.S.C. § 9840a. To the extent that states might interact with Head Start programs in various ways (for

  example, the partnership grant received by Georgia DECAL or collaborative grants to other states),

  this interaction does not lead to a commandeering problem. A state acts entirely voluntarily in




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  applying for such collaboration grants. In addition, the Rule merely amends the existing Performance

  Standards as authorized by 42 U.S.C. § 9836a(a)(1), which was enacted under the Spending Clause.

  Thus the Rule does not “requir[e] State entities to enforce” it, PI Br. 21, except inasmuch as state

  entities that have chosen to seek out collaboration grants are now collaborating with Head Start

  programs (not themselves operated by the states) that are required to uphold the preexisting Head

  Start Performance Standards and the Rule rather than just the preexisting Head Start Performance

  Standards. And the Plaintiff-states have apparently had no issues in the past collaborating with Head

  Start programs that were complying with Head Start Performance Standards. Finally, where, as here,

  “Congress places conditions on a State’s receipt of federal funds—whether directly, or by delegation

  of clarifying authority to an executive agency—there is no commandeering of reserved State power so

  long as the State has ‘a legitimate choice whether to accept the federal conditions in exchange for

  federal funds,’” New York v. Dep’t of Just., 951 F.3d 84, 115 (2d Cir. 2020) (quoting Nat’l Fed’n of Indep.

  Business v. Sebelius, 567 U.S. 519, 578 (2012)); see also Printz, 521 U.S. at 916; id. at 936 (O’Connor, J.,

  concurring) (“Congress is also free to amend the interim program to provide for its continuance on a

  contractual basis with the States if it wishes, as it does with a number of other federal programs.”),

  and there would thus be no commandeering issue even in the counterfactual world where the Rule

  was placing conditions on Plaintiffs’ use of federal funds.

          Nor does the Rule violate the Spending Clause. Contra PI Br. 22. Under that clause, Congress

  may impose conditions on federal grants to States so long as it “do[es] so unambiguously” so “States

  [can] exercise their choice knowingly.” Pennhurst State Sch. & Hosp. v. Halderman, 451 U.S. 1, 17 (1981);

  see also South Dakota v. Dole, 483 U.S. 203, 206–07 (1987). Here, again, the Plaintiffs are not eligible for

  Head Start program grants because they are states, not local entities. To the extent that states have

  sought out other grants relating to Head Start, like collaboration grants or Georgia DECAL’s

  partnership grant, they have “knowingly” made the choice to take on those grants. Even if Plaintiffs

  were operators of Head Start programs subject to the Rule, the Rule unambiguously puts recipients




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  on notice that they are obligated to comply with the mask and vaccine requirements when they receive

  Head Start funding by clearly laying out the Rule’s three requirements: (1) universal masking for those

  two years or older; (2) vaccination for all Head Start personnel; and (3) weekly testing for those

  exempted from vaccination. A grant recipient thus will be capable of making “an informed,” voluntary

  decision whether to accept the attendant obligations of contracting with the Federal Government,

  avoiding any Spending Clause issue. See Pennhurst, 451 U.S. at 25; see also Mayweathers v. Newland, 314

  F.3d 1062, 1067 (9th Cir. 2002) (“[T]he Supreme Court has held that conditions may be ‘largely

  indeterminate,’” and yet constitutionally permissible, as long as the States have clear notice that

  accepting funds “obligate[s them] to comply with [the conditions].” (quoting Pennhurst, 451 U.S. at 24–

  25)). Plaintiffs appear to think that the Head Start Act—not the Rule—is overly ambiguous. PI Br.

  22. Were that the case, of course, that would be a reason to challenge the Head Start Act itself, not

  the Rule. But in any event, the Head Start Act unambiguously gives notice of the existence of

  conditions, e.g. 42 U.S.C. § 9836a, which is all that is required. And, contrary to Plaintiffs’ argument,

  PI Br. 22, there is a clear nexus between the Head Start Act’s instructions to the Secretary and the

  Rule here, see supra Part II.A.

          Given that there is no constitutional problem with the Rule, there is no need for the Court to

  “avoid[],” PI Br. 22, the correct interpretation of the statute advanced by Defendants.

  III.    Plaintiffs Will Not Suffer Irreparable Harm Absent an Injunction.

          Plaintiffs also cannot demonstrate irreparable harm. When plaintiffs “fail[] to prove that,

  absent the injunction, irreparable injury will result,” the preliminary injunction “should be denied.”

  Enter. Int’l, Inc. v. Corporacion Estatal Petrolera Ecuatoriana, 762 F.2d 464, 472 (5th Cir. 1985). It is their

  burden to show that the harm of which they complain is likely and not merely possible. Winter, 555

  U.S. at 20. “Speculative injury is not sufficient” “to make a clear showing of irreparable harm.”

  Holland Am. Ins. Co. v. Succession of Roy, 777 F.2d 992, 997 (5th Cir. 1985). Plaintiffs have not met their

  burden here.



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          Plaintiffs’ primary argument—that they will be irreparably harmed because the Rule “will cause

  them to lose direct federal funding,” PI Br. 23, fails because as previously discussed, see supra Part I,

  the Plaintiffs do not receive Head Start Program grants under 42 U.S.C. § 9836a because they are states

  rather than eligible local entities, nor do they allege that they receive Early Head Start grants under 42

  U.S.C. § 9340a. Perhaps recognizing this, Plaintiffs also raise a more speculative theory that the Rule

  will cause “public schools to lose federal funding, cause public entities involved with Head Start—

  many of which will turn to States for additional funding—to spend their own money enforcing

  compliance and providing tests, and cause the States to spend more in public benefits.” PI Br. 23.

  But this chain of events—entities that are not plaintiffs incurring costs that they will somehow recoup

  from Plaintiffs, or Plaintiffs choosing to fund greater public benefits in the future—is highly uncertain

  and does not suffice to show irreparable harm. Even were that not the case, this supposed injury

  would fail as a matter of black-letter law. “[E]conomic loss such as the loss of funding is not

  irreparable.” Florida v. Dep’t of Health & Human Servs., --- F. Supp. 3d ---, 2021 WL 5416122, at *3

  (N.D. Fla. Nov. 20, 2021), appeal filed, No. 21-14098 (11th Cir. Nov. 24, 2021); see also Deerfield Med.

  Ctr. v. City of Deerfield Beach, 661 F.2d 328, 338 (5th Cir. 1981). Notably, Plaintiffs do not identify any

  cases to the contrary.

          Nor, as explained above, do Plaintiffs have standing as parens patriae to carve out their citizens

  from the operation of the Rule. Contra PI Br. 23–24. As the Supreme Court has made clear, a “[s]tate

  does not have standing as parens patriae to bring an action against the Federal Government,” except

  when the state can articulate “quasi-sovereign interests” apart from the interests of its citizens. Snapp,

  458 U.S. at 610 n.16; cf. Texas v. Biden, ---F. Supp. 3d---, 2021 WL 3603341, at *12 (N.D. Tex. Aug. 13,

  2021) (Kacsmaryk, J.) (contrasting a permissible suit in which a State asserts its own rights under

  federal law with one in which a State is impermissibly “attempting to protect its citizens from the

  operation of [the federal law]”); Florida v. Dep’t of Health & Hum. Servs., No. 21-cv-2722 (N.D. Fla.

  Dec. 1, 2021), Order at 7, ECF No. 18 (declining to find a parens patriae interest in a state law that




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  operates to “shield employees who choose to work in a federally funded healthcare facility from the

  rules that govern administration of the federal program”). The two alleged injuries to their citizens

  that Plaintiffs purport to rely on are “a reduction in the availability of Head Start services” and a

  burden on “the liberty interests of the preschool staff,” PI Br. 24, but neither of these is a quasi-

  sovereign interest such as the health of state residents or the state’s ability to create their own legal

  code, Snapp, 458 U.S. at 603–08, and Plaintiffs are thus nothing more than nominal parties attempting

  to assert interests that belong to their citizens.10

          Plaintiffs’ argument that the Rule harms the state’s “sovereign interests” by preempting state

  law, PI Br. 24, likewise misses the mark. “[I]t is black-letter law that the federal government does not

  ‘invade[ ]’ areas of state sovereignty ‘simply because it exercises its authority’ in a way that preempts

  conflicting state laws.’” Florida, 2021 WL 5768796, at *15 (quoting Hodel, 452 U.S. at 291). As the

  Eleventh Circuit noted, to “conclude otherwise would mean that a state would suffer irreparable injury

  from all . . . federal laws with preemptive effect.” Id. Indeed, courts have recognized a cognizable

  Article III harm when a state’s own enforcement efforts have been hampered, not when a federal

  enactment merely raises the abstract question of whether state law is preempted. See Va. ex rel.

  Cuccinelli v. Sebelius, 656 F.3d 253, 271 (4th Cir. 2011) (“To permit a state to litigate whenever it enacts

  a statute declaring its opposition to federal law . . . would convert the federal judiciary into a ‘forum’

  for the vindication of a state’s ‘generalized grievances about the conduct of government.’” (quoting

  Flast v. Cohen, 392 U.S. 83, 106 (1968))).

          10
            Even if the Plaintiff-states could represent the interests of their citizens against the Federal
  Government (and they cannot), Plaintiffs’ allegations of harm to their citizens—which Plaintiffs barely
  bother to explain—are entirely speculative. Compare Pls.’ Ex. C–G, I, J, K, O–Q (speculating about
  the possible effects of the Rule on various Head Start programs), and PI Br. 24 (citing Pls.’ Ex. L, M,
  N) (individual Head Start employees speculating that there exemption requests have “effectively,” Pls.’
  Ex. L, N, been denied by a Head Start agency), with United States v. Emerson, 270 F.3d 203, 262 (5th Cir.
  2001) (“There must be a likelihood that irreparable harm will occur. . . . [A] preliminary injunction will
  not be issued simply to prevent the possibility of some remote future injury.” (quoting 9 Wright, Miller
  & Kane, Federal Practice & Procedure: Civil 2D § 2948.1 (3d ed.))). And being required to wear a
  mask does not constitute irreparable harm, Klaassen v. Trs. of Ind. Univ., ---F. Supp. 3d---, 2021 WL
  3073926, at *42 (N.D. Ind. July 18, 2021), as Plaintiffs apparently believe, PI Br. 24 (citing Pls.’ Ex.
  T).


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            The cases that Plaintiffs cite are not to the contrary. For example, Planned Parenthood of Greater

  Texas Surgical Health Servs. v. Abbott, 734 F.3d 406 (5th Cir. 2013), and Veasey v. Abbott, 870 F.3d 387,

  390 (5th Cir. 2017) (cited at PI Br. 25), were cases in which a state law was enjoined by a court order,

  and the appellate courts noted the noncontroversial conclusion that “[w]hen a statute is enjoined, the

  State necessarily suffers the irreparable harm of denying the public interest in the enforcement of its

  laws.” Planned Parenthood, 734 F.3d at 419. And in Texas v. United States, 787 F.3d 733 (5th Cir. 2015),

  the court referred to a state forced to choose between incurring costs and changing its legal regime,

  id. at 752—here the states do not identify a similar pressure on them to change their legal regimes or

  face costs, they simply note that federal law has preempted state law, which is not an irreparable harm.

  See Florida v. Dep’t of Health & Hum. Servs., No. 21-cv-2722 (N.D. Fla. Dec. 1, 2021), Order at 6, ECF

  No. 18 (declining to find preemptive effect as causing irreparable harm because “it is not a federal

  mandate that all Florida citizens must be vaccinated”).

            Finally, Plaintiffs seek to rely on the alleged denial of their procedural right to comment on

  the Rule. PI Br. 25. They cite no cases, however, supporting the proposition that such an injury

  would be irreparable absent emergency injunctive relief. APA cases asserting a lack of notice and

  comment frequently proceed in the ordinary course, without the extraordinary remedy of preliminary

  relief.

  IV.       The Balance of Equities and Public Interest Overwhelmingly Favor Denying an
            Injunction.

            The third and fourth requirements for issuance of a preliminary injunction—the balance of

  harms and whether the requested injunction will disserve the public interest—“merge when the

  Government is the opposing party.”           Nken v. Holder, 556 U.S. 418, 435 (2009). Here, these

  considerations tilt decisively in the Government’s favor.

            In discussing the public interest prong, Plaintiffs remarkably refuse to acknowledge the

  unparalleled American casualties from COVID-19. Contrary to Plaintiffs’ argument that the “only”

  harm from enjoining the Rule would be a “wait,” PI Br. 25, an injunction would harm the public


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  interest in slowing the spread of COVID-19 among young children in the Head Start program and

  those who come into close contact with them. See In re MCP No. 165, 2021 WL 5989357, at *19

  (noting that the “costs of delaying implementation” of a COVID-19 vaccine requirement are

  “comparatively high”). In the context of this pandemic, “federal courts across the country have

  routinely concluded that undoing orders deemed necessary by public health officials and experts to

  contain a contagious and fast-spreading disease would result in comparatively more severe injury to

  the community.” Chambless Enters., LLC v. Redfield, 508 F. Supp. 3d 101, 123 (W.D. La. 2020) (citation

  omitted). Accordingly, numerous courts reviewing “executive action designed to slow the spread of

  COVID-19” have concluded that “[t]he public interest in protecting human life—particularly in the

  face of a global and unpredictable pandemic—would not be served by” an injunction. Tigges v.

  Northam, 473 F. Supp. 3d 559, 573–74 (E.D. Va. 2020); see also, e.g., Donovan v. Vance, No.,--- F. Supp.

  3d ---, 2021 WL 5979250 at 7–8 (E.D. Wash. Dec. 17, 2021); Wise v. Inslee, No. 2:21-cv-0288, 2021

  WL 4951571, at *6 (E.D. Wash. Oct. 25, 2021); Williams v. Brown, ---F. Supp. 3d---, 2021 WL 4894264,

  at *10–11 (D. Or. Oct. 19, 2021); Johnson v. Brown, ---F. Supp. 3d---, 2021 WL 4846060, at *26–27 (D.

  Or. Oct. 18, 2021); Mass Corr. Officers Federated Union v. Baker, ---F. Supp. 3d---, 2021 WL 4822154, at

  *7–8 (D. Mass. Oct. 15, 2021); Valdez v. Grisham, ---F. Supp. 3d---, 2021 WL 4145746, at *13 (D.N.M.

  Sept. 13, 2021), appeal filed, No. 21-2105 (10th Cir. Sept. 15, 2021); Harris v. Univ. of Mass., Lowell, ---F.

  Supp. 3d---, 2021 WL 3848012, at *8 (D. Mass. Aug. 27, 2021), appeal filed, No. 21-1770 (1st Cir. Sept.

  28, 2021); Am.’s Frontline Drs. v. Wilcox, No. EDCV 21-1243, 2021 WL 4546923, at *8 (C.D. Cal. July

  30, 2021); TJM 64, Inc. v. Harris, 475 F. Supp. 3d 828, 840–41 (W.D. Tenn. 2020); Talleywhacker, Inc. v.

  Cooper, 465 F. Supp. 3d 523, 543 (E.D.N.C. 2020). By comparison, any theoretical harm to Plaintiffs,

  which, as explained above, is not irreparable and is purely speculative, “pales in comparison to the

  significant loss of lives that Defendants have demonstrated could occur” if the Rule is enjoined.

  Chambless Enters., 508 F. Supp. 3d at 123 (citation omitted).




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          Moreover, “there is inherent harm to an agency in preventing it from enforcing regulations

  that Congress found it in the public interest to direct that agency to develop.” Cornish v. Dudas, 540

  F. Supp. 2d 61, 65 (D.D.C. 2008), aff’d, Cornish v. Doll, 330 F. App’x 919 (Fed. Cir. 2009). Congress

  has charged the Secretary with the responsibility to protect the health and safety of children

  participating in the Head Start programs. See 42 U.S.C § 9831(2); id. § 9836a(a)(1). The public interest

  favors allowing the Secretary to fulfill these responsibilities.

  V.      Any Injunctive Relief Should Be Appropriately Limited.

          If the Court disagrees with Defendants’ arguments, any relief should be no broader than

  necessary to remedy any demonstrated irreparable harms of the specific Plaintiffs in this case. “A

  plaintiff’s remedy must be tailored to redress the plaintiff’s particular injury,” Gill v. Whitford, 138 S.

  Ct. 1916, 1934 (2018), and “injunctive relief should be no more burdensome to the defendant than

  necessary to provide complete relief to the plaintiffs,” Madsen v. Women’s Health Ctr., Inc., 512 U.S. 753,

  765 (1994) (citation omitted). Any relief should be limited in two respects.

          First, any injunction should apply only to those aspects of the Rule for which the Court finds

  Plaintiffs have met their burden under the four-factor test for emergency relief. The Supreme Court

  has held a regulation severable where severance would “not impair the function of the statute as a

  whole, and there is no indication that the regulation would not have been passed but for its inclusion.”

  K Mart Corp. v. Cartier, Inc., 486 U.S. 281, 294 (1988) (invalidating only the provision of a regulation

  that exceeded the agency’s statutory authority). Severability clauses, such as the one in the Rule, see 86

  Fed. Reg. at 68,060, create a presumption that the validity of the entire regulation is not dependent on

  the validity of any specific unlawful provision if that unlawful provision would not impair the function

  of the regulation as a whole. Alaska Airlines, Inc. v. Brock, 480 U.S. 678, 686 (1987).

          Second, as discussed above, see supra Part I, Plaintiffs lack standing because they do not operate

  any Head Start programs and are not recipients of any Head Start grants under 42 U.S.C. § 9836 or

  § 9840a. But, if the Court disagrees and concludes that some Plaintiffs do have standing, any



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  injunctive relief should be limited, at most, to the specific grants or programs operated by Plaintiffs

  that the Court identifies. “The Court’s constitutionally prescribed role is to vindicate the individual

  rights of the people appearing before it.” Gill, 138 S. Ct. at 1933; see also id. at 1934 (citing Daimler

  Chrysler Corp. v. Cuno, 547 U.S. 332, 353 (2006)); Madsen, 512 U.S. at 765. Plaintiffs here do not request

  a nationwide injunction in either their motion for a preliminary injunction or their motion for a

  temporary restraining order, and do not in fact even reference the scope of the relief they seek in

  either. This makes sense: Plaintiffs have no interest in whether Head Start programs in other States

  or operated by other grantees are subject to the Rule during the pendency of this lawsuit nor standing

  to assert claims on behalf of programs that Plaintiffs do not operate. Plaintiffs’ claims would be fully

  redressed through a preliminary injunction prohibiting the Secretary from “implementing” or

  “enforcing” the Rule against only those programs that Plaintiffs themselves operate.

          Nationwide relief would be particularly harmful here given that the only Plaintiffs in this action

  are the specific plaintiff states and two other district courts are already considering similar challenges

  to the Rule as of the date of this filing. See Brick v. Biden, No. 2:21-cv-4386 (W.D. La. Dec. 22, 2021);

  Texas v. Becerra, No. 5:21-cv-300 (N.D. Tex. Dec. 10, 2021). A nationwide injunction would render

  any forthcoming order by the district courts in Texas and Brick, as well as any additional orders that

  might follow from other courts that might consider similar claims, meaningless as a practical matter.

  Moreover, nationwide injunctions “take a toll on the federal court system—preventing legal questions

  from percolating through the federal courts, encouraging forum shopping, and making every case

  a national emergency for the courts and for the Executive Branch.” Trump v. Hawaii, 138 S. Ct. 2392,

  2425 (2018) (Thomas, J., concurring); see also Holland v. Nat’l Mining Ass’n, 309 F.3d 808, 815 (D.C. Cir.

  2002) (“Allowing one circuit’s statutory interpretation to foreclose . . . review of the question in

  another circuit” would “squelch the circuit disagreements that can lead to Supreme Court review.”).

  Consistent with those equitable principles, the Fifth Circuit has repeatedly vacated or stayed universal

  injunctions that apply to nonparties, including in a recently decided matter with respect to another




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  HHS vaccination requirement for CMS. See Louisiana, 2021 WL 5913302, at *2 (“This vaccine rule is

  an issue of great significance currently being litigated throughout the country. Its ultimate resolution

  will benefit from ‘the airing of competing views’ in our sister circuits.”) (citation omitted); see also Texas

  v. United States, 14 F.4th 332, 341 (5th Cir. 2021); Marshall v. Goodyear Tire & Rubber Co., 554 F.2d 730,

  735 (5th Cir. 1977). There is no reason why Plaintiffs’ disagreement with the Rule should govern the

  rest of the country, portions of which undoubtedly welcome it as a lawful lifesaving measure.

                                               CONCLUSION

          For the foregoing reasons, Plaintiffs’ Motions should be denied.


  Dated: December 29, 2021                                   Respectfully submitted,

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